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May 29, 2018
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orthern Dtstrlct of Illtnots _
Chjcago, IL Judge Eiame E. Buckio
Magistrate Judge Daniei G. Martin
Arlcne R. Athertorl Casc Number

(plaintifh REC E lVED CoMPLAlNT
Do u Want A Jury 'I`rial?
MAY 29 umw /U

Yes r No
THOMAS G. BRUTON
CLERK. U.S. D|STR|CT COURT

against.

New York City Police Department; Weil Cornell Hospital; NY Presbyterian White Plains Hospital; Attending Physician;
, . ,Westchester County Government, New York
S%e-ES¢Q{E¢C'U'I"MEUU+'I-Ieelt-h. (Def`endants).

 

NOTE TO UN|TED STATES DiSTRlCT COURT - |'vis. Atherton advises the Court that due to Cyberstalking, Cybercrime
Assaults she is unable to include 'legai authorities' in her Complaint. A Cyberstaiking Ernergency Protection Order has been
requested 3!8!2018. Said activityr has impacted the access to law library e-resources. WlF| or lntemet access law review sites
and citation, Goog|e, and illinois Court Cyberstaiking petition disrupted on public kiosks targeted via device serial number.
Clone sites of disreputable illinois law have been superimposed on domain painters or trach routers. This is a LEGAL
ASSUALT to prevent Ms. Atherton's due process and access to United States Court System.
Ms, Atherton draws the United States District Court’s attention to the fact the F'ersonai F'rotection Order {Pl-‘O} for Riiey Shane
Ke|ier was denied in Circuit Court of Cook Counry - regarding vaerstalking. Remote Desktop Viewing has increased to
invasion of the prime document - and alteration of text to prevent Ms. Atherton from due process and hiing, W|F| at Hyatt hote¥
has been disabled to prevent citations, authorities, and reference material to the key document Thisl is a landmark case for
Traumatic Brain injury and law authorities are not protecting Ms. Atherton to complete her regal duties_

FORMATTING, 'i`Yi’E. ORDER, and F()OTN()‘l'l;`S AFFE("l`ED BY (.`YBI:`RS`['Al_Ki-lRS 2fi4t2t}i ii i`mm i(i:t)thi\/i lo present
continuously P|aitttiti` cannot validate all text is accurate as there is continuous alteration oi`tltis doeumertt. Al.|_ l~`AM|[_Y MliMBI-fi{$ ()N
WI`l'NESS L[ST - Scc Wa.\:ltinglon D,(`_ Distr‘ict Attttrney - Family Ahusc and Ncgll':cl liling lt(i.t'Z(ll-‘l.

l. Tirnely Filing - Complaint against the New York Clty Police Department; Weil Cornell Hospital'; NY
Presbyterian White Plains Hospital; Attending Physician; Other doctor; Westchester County New York Supreme
Court, Hon. .l. Emmett Murphy, Westchestcr County Government, New York State Office of Mental Health. Weill
Cornell Hospital and NY Presbyterian Whjte Plains Hospital, ‘commitment periods’ 12f9r'2015 to 2f2f20| 6 - 56 day.
Ms. Atherton requests the consideration of the United States District Court to support the exercise of her Civil Legal
Rights to due process. Ms. Athertorl outlines events that have deprived Ms. Atherton of her personal liberty and the
execution of her legal rights. The circumstances meet the ‘good cause’ for delay and are classified as I_.EGAL
ASSUALTS to prevent Ms. Atherton’s access to the Court guaranteed to all citizens of the United States ofAmcrica
of Amcrica, due process for loss of life, liberty, property or redress for harm and personal injury under Constitutional
law of the 1/-i‘h Amendment.

These LEGAL ASSUALTS are designed to prevent Plaintiff from filing in her home jurisdiction, destroy evidence, or
alter and destroy legal documents Ms. Atherton has filed a 8 protection orders for the Cyberstalking in order to secure
her evidence, note witnesses, and prevent legal tamperingl ALL LEGAL ASSUALTS have taken place since Ms.
Atherton began fighting against the parties in this Complaint in 2015. Ms. Atherton states that this Complaint over
‘loss of personal liberty’ guaranteed under the lst Arnendment of the Constitution, follows a continuous serious of
criminal incidents serially related and cumulative The allegations in this Complaint span State Facilities, individual

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Atherton ‘Liberty’ Complaint in New York State
actors, and local government; they cannot be separated as all the actors are intertwined and the commitment periods
are causative of the forced custody.

The LEGAL ASSUALTS take four forms:

1) ‘forced commitment’ to a mental hospital ~ discriminating against Americans with Disabilities Act 199(). This is a
technique to prevent Court Access, Complaint tiling, Testimony, evidence submission, or witness verification of
Claims in a desired Legal Complaint.

2) ‘false arrest’ presuming ‘trespassing’ desired to interrupt Plaintiffs travel, access to law libraries, legal resources,
law tinns, or remain in a geographic area.

3) Interruption to access of c-legai resources, e-citations, e-authorities due to Cyberstalking of a case using material
from events in this Complaint: impacting a recovery of real property damage in excess of l million dollars lost to
foreclosure related while volunteering for the United States of America of America of America; submitted to
Congress. The

4) lnterruption to Plaintift` banking access for funds to travel to required destinations _ attempting to take advantage of
Plaintiff economic limitation stranding Plaintiff outside the Jurisdiction oi` Residence.

l) I_.EGAL ASSUALTS - Calculation of period for inability to exercise legal rights ‘false commitment’: Ms.
Atherton was ‘falsely committed’ as a result of SWVMHI on the following periods: l) New Mexico UNM
Hospital 9;'12!2016 to lOr‘?!ZOltS~ 2? days; 2) Chicago, II 2t26!207 to 3£24!2017 » 26 days ~ 3) Troy, NY
6!91'2017 to 6!10!201'? - 29 days; 4) Hartford, CT a) 9!14)'2017 to 9117!2017,9!20£20 - 3 days; b) 9!201'2017
142 days Ms. Atherton could not exercise her civil and legal ri ghts. New Statue date 61‘6!2018.

2) LEGAL ASSUALTS ~ Calculation of period for inability to exercise legal rights, ‘f`alse arrest`:
Ms. Atherton has endured the FALSE ARRES'I` by America’s finest in the process of being taken advantage
in a legal claim. - ALL FALSE ARRESTS have been DISMISSED of any Criminal Charges. Each FALSE
ARREST is discrimination in Traumatic Brain Injury attempting to keep Ms. Atherton from law libraries,
legal resources, or transit to an area or jurisdiction where she can tile legal documents
' 11'29;*2016 _ New York, NY _ Columbia University - “Trespassing" charge for attempt to use

Law Library.

' 4f 151‘2016 ~ Albuqucrque, NM - attempt to steal evidence for FEDERAL CASE with failed
‘trespassing

' charge’.

' 51*2£2016 - Palo Alto, CA - “Trespassing’ Charge Stani`ord Campus for attempt to use Law
Library.- Persky Court failed to release Ms. Atherton until 71'12!2016. Judge Persky lost his bench
in criminal court due to his failure to sentence Brock Turner beyond the minimum of lst degree
Aggravated RAPE on Stanford Campus. - 72 days of delayed search for representation for
S.D.N. Y. FEDERA]_. CASE.

l 9;‘5!2016 ~ Albuquerque, NM _ Ms. Atherton arrested for ‘trespassing` in Hotel after calling in
her Bank Card stolen from Z"d District Court security guard. - 7 days.

' 9!17£201? _ Hartford, CT _ Hartford Police called on ‘trespassing 911 call - did not arrest in
Hartford to tile Protection Order.

' lt8i'2018 _ Washington, DC _ “Trespassing charge “ WHITEI-IOUSE _ for submitting
rI`emporary Restraining Order to Security Guard.

' 3!10!2018 _ Chicago, IL _ Attempted “Trespassing charge” DePaul University Law Library _
FALSE INTERSESSION - attempt to remove Ms. Atherton at ?:OOPM` when single paper notice
reads expiration 6:00PM. NO arrest.

' 3d 151'2018 - Chicago, IL - Attempted “Trcspassing chargc" at Hilton Airport for attempting to
send a FAX at UPS.

3) LEGAL ASSUALTS - Calculatiorl of period for inability to exercise legal rights: Restraining Orders
Protection Orders filing for E-surveillance
l) 8!22!2017 - Cook County, IL - Ernergency Protection Order _ Circuit Court - Cyberstalking -
Interstate Cyberstallcing

 

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2) 9!2)*2017 Wayne County, MI - Temporary Restraining Order _ Younger Court House -
Cyberstalking - lnterstate Cyberstalking

3) 9!15)’201? & 91'20!2017 - Hartford, CT _ 'I`emporary Restraining Order _ Superior Court _
Cyberstalking _ lnterstate Cyberstalking

4) 1!8)'2018 - Washington D.C. _ Temporary Restraining Order _ Superior Court _ Cyberstalking _
Predatory Stalking

5) 31'8!2018 - Cook County, IL - Emergency Protection Order - Circuit Court - Cyberstalking -
lnterstate Stalking _ Predatory Stalking. Summons due 81'20:‘201 8.

4) Intert'uption to Plaintiff banking access for funds to travel to required destinations

8!221‘2017 Plaintiff requests Emergency Protection Order. Ms. Atherton`s Bank card was stolen from UPS
_ with validation of Chasc Bank signature for delivery. Ms. Atherton was told she had to obtain the card at
the location the account was opened in New York City without mailing it.

9f15f201? Plaintif’f requests Emergency Protectivc Order. Ms. Atherton sought access to alternate banking
services v Ms. Atherton experienced Banking Fraud with the failure of the Institution to deliver said card
to customer with the account

12:’1)*201 ? Plaintit’f requests Logisticare to transport her to Chicago for medical appointment for
Traumatic Brain Injury Care at Shirley Ryan 12f6f2017 With faxed copy for said request. Logisticare
failed to transport Ms. Atherton.

1!15)’201? Ms. Atherton was enroute to Chicago for FEDERAL FlLING when her debitfcredit card is
disabled and routing transportation is unavailable
Incidents financially strangle Plaintiff’s ability to reach Jurisdiction, Legal Resources, or Secure Evidence.

STATUE of LlMITATIONS CONSIDERATIONS: Revised minimum Statue of Lirnitations date based on forced
commitment alone is 61‘6!'2018.

2. Material Issue: All issues cited in this Federal Case are causative of these defendants, cumulative from inception;
responsible for current damages; Impacting Ms. Athcrton‘s life well past the date of the incident. Hence the injury and
harm has been pervasive, enduring, and current to today`s relevant requirements The continued ‘framing of mental
illness’ impacts Ms. Atherton, and the medical malpractice continues to manifest injuries to Ms. Atherton.

FEDERAL QUESTIONS:

a) CIVIL RIGHTS - Disability Discrimination: Americans with Disabilities Act 1990 U.S.C. 42-12101has been
violated.

b) CIVIL RIGHTS - Freedorn of Religion: Constitutional ls‘ Amendment Right -Discrimjnation and interference
with religious practice.

c) CIVIL RIGHTS - Personal Liberty - False incarceration: 14‘h Life, Liberty, or Property cannot be taken without due
process.

d) CIVIL RIGHTS - Right to obtain correct MEDICAL CARE _ Consumer Protection in Medical Care against
Malpractice. Federal Rehabilitation Act of 1973 29 U.S.C. § ?01

e) CIVIL RIGHTS _ Right to FAlR HOUSING with a Disability - Fair Housing Act 42-3601

0 CIVlL RIGHTS - Right to INDEPENDENT LIVING - with a Disability U.S.C. Tit|e 29 § 51 .5-162. ARTICLE 10
- lndependent living services

g) CIVIL RIGHTS _ Right to Due Process, Right to Legal Redress of lnjuries, 14"‘ Amendment Right for Due
Process. Exercise of Legal Rights have been attacked, interrupted, and delayed due to the issues raised in this
Complain. Subsequent LEGAL ASSUALTS include Cyberstalking, Cybercrime, WlFI access, Desktop Remote
Access (See attached 3:’8)*201 8 Cook County Emergency Order of Protection, 31'20;'2018 Motion for Hearing].

h) Right to Medical Care - across all 50 states.

i) New York State Patient Bill Of Rights with their ‘mental health’ protection.

3. Jurisdiction: U.S. District Court - Northern District of Illinois

Federal Question - venue based on Original Jurisdiction, Ms. Atherton’s as a resident in Cook County prevails to all
parties - Please see the List of Parties Plairltiff![)efendants

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Atherton ‘Liberty’ Complaint in New York State
Plaintiff address: Chicago, ll 60602 and has the right to bring the complaint in the Jurisdiction of her current
Residence. Original Filing prevails in venue of the United States District Court.

Defendants: Have various addresses in the State of New York - see attached list “Parties to the Complaint".

4. Staternent of Claim

Place of Occurrence Date of Occurrence Description

New York City, NY 12f9f2015 Safety Check - New York City Police
Deparlment

New York City, NY 12f9f2015 Weil Comell Hospital- Admission:

White Plains, NY 12!121'2015 NY Presbyterian White Plains Hospital -

Adrnission

5. Facts Overview of Case - Events: On 12t9f2015 Ms. Atherton had just filed Personal Protection Petition Order
Friday in downtown Manhattan NYC. Ms. Atherton got off the 3rd ave bus at Au Bon Pain and entered as a patron
near 55th street. She passed by the other patrons entering the door. She was then outside after the store closed. She was
stopped by a NYC Police officer who claimed that she was ‘violent’ and injured a person by ‘hitting them’. This was
a strong recollection by Ms. Athcrton of SWVMHI who stated Ms. Atherton was unfit to live alone as she might be
accosted by someone and falsely accused of assault. That is what was taking place here. The NYC Police officer
claimed he didn’t care if he lost his badge, he was calling the EMT and having Ms. Ahterton taken in. She was taken
to Weil Cornell ER Psych ward and then trans poned to NY Presbeterian Hospita| in White Plains, NY - a subsidiary
of Weil Cornell Hospital.

At NY Presbyterian White Plains Hospital initially her doctor prescribed Haldol for Ms. Atherton.
chardless of Ms. Atherton’s protest that the ‘said person whom she “hit” was not named by the police, found by the
police, or identified in the dispatach report Ms. Atherton was treated as a danager to others.

Attending Physician forced a `medication over objection’ with Ms. Ahterton at WESTCHESTER COUNTY Mental
Health Court. She was forced to appear on a ‘gurney’ in restraints or she was not allowed to go to Court. Ms.
Atherton was humiliated and demeaned before she ever opened her mouth by this type of treatment Ms. Atherotn’
offered to WALK to the Court which was denied. The WESTCHESTER COUNTY COURT did not accept Ms.
Atherotn`s statement that she did not ‘hit’ anyone and was falsely accused. Ms. Atherotn explained to the Judge and
to the court that this was 3"1 party stalking used to obtain a ‘mental health disagnosis’, the very reason she went to
Court to obtain a Protection Order.

Causative Darnage from Weil Cornell Hospital and its subsidiary NY Presbyterian White Plains Hospital is this
detention is being used by Donavon Roberts and RlLEY SHANE KELLER of JOINT DEFENSE. TEAM to attempt to
profile Ms. Atherton as suffering from serious ‘mental diseases’. The profiling of Ms. Atherton to prevent ‘testimony`
in the original Traumatic Brain lnjury assault. There are no ‘medical diseases` _ there are chemical imbalance, failures
in biological function, and tissue damagel This is a mischaracterization by Donavon Roberts and Riley Shane Keller,
who lack understanding of ‘neurological function` relying on Weill Comell Hospitali'NY Presbyterian Whjte Plains
I-lospital records.

Ms. Atherton presented her argument to the Westchester County New York Supreme Court for
`Medication Over Objection’: 1) She was not prescribed any ‘psychotropic drugs’ for ‘psychosis’ while residing in
Virginja; 2] Ms. Atherton’s religious beliefs in Scicntology and the ‘auditing process’. The ‘auditing process’
prohibits the use of pharmaceuticals and psychotropic drugs to perform the auditing ‘rituai’ and training; 3) Ms.
Atherton’s life long conduct of taking ‘no prescription’ medication using alternative medicine; 4) Ms. Atherton was
NOT a DANGER to SELF - she was taking care of an Insurance Claim from a near fatal auto-accident; 5) Ms.
Atherton was not a DANGER to OTHERS _ she was acting as an ordinary consumer

 

 

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Ms. Atherton would like to know - what ‘break in reality’ for a ‘paranoid schizophrenic’ diagnosis is the
NY Presbyterian Hospital citing that makes her a required ‘mental illness patient` in need of `rcsidential care’ at the
expense of the U.S. Government?

Ms. Atherton received the Wcstchcster County New York Supreme Court decision to force the NY
Presbyterian White Plains Hospital ‘commitment’ and commence ‘Court Ordered Medication` with 50rng. ‘Haldol`.
This drug is contraindicated in Traumatic Brain lnjury rehabilitation, bathing the neurons and synapses in chemicals
preventing the normal healing of neuroplasticity. With full knowledge of these facts. Attending Physician prescribed,
authorized, and administered Haldol - a drug that could cause ‘medical death’ to Ms. Atherton. Haloperidol
Contraindications ~ News Medical www.news-medical.netr'healthr‘Haloperidol-Contrairtdications.aspx

6) Claims (review these claims)

6.1 NY Criminal Action -Forced Rclocation (Abduction) of Ms. Atherton from New York Clty.
6.2 NY- Discrimination based on TBI Disability, Gender, and Age

6.3 NY Defamation - Labeling Ms. Atherton as permanently long term ‘mentally ill`» impacting her ability to regain a
place in society, employment, professional opportunities, financial recovery.

6.4 NY Mental Health Services Requirement -Weil Cornell Hospital violated Ms. Atherton’s New York State TBI
Disability Rights placing her in the White Plains Westchester County Mental Health Systcm which does not treat
‘traumatic brain injury services`.

6.5 Weil Cornell Hospital violated Ms. Atherton’s New York Disabilities Rights when they referred Ms. Atherton to
an affiliate - NY Presbyterian White Plains Hospital who treated Ms. Atherton like a person unable to overcome her
TBI Disability _ seeking to profit from residential ‘in patient’ mental health treatment

6.6. NY Presbyterian White Plains Hospital violated Ms. Atherton’s TBI Disability Rights when they accepted Ms.
Atherton for mental health treatment - what is the ‘break in reality’ being a consumer; what is the ‘break in reality’
for being ‘alonc’.

6.'? Weil Cornell Hospital failed to meet “rnedical necessity’ criteria of MEDICAID to recommend admission of Ms.
Atherton to an in-patient acute Psychiatric Hospital. There was no emergency, life saving action, and there were many
alternatives in the community, which rendered appropriate TBI Care. - this is Malpractice.

6.8 NY Presbyterian White Plains Hospital failed to meet “medical necessity’ criteria of MEDICAID to admitting Ms.
Atherton to an in~patient acute Psychiatric Hospital. There was no emergency, life saving action, and there were many
alternatives in the community, which rendered appropriate TBI Care. This is Malpractice.

6.9 NY Presbyterian White Plains Hospital Medical Admission and Mental Health Treatments did not meet New
York State law for TBI Disabled Persons. Failure to follow New York State Health Code.

6.10 NY Presbyterian White Plains Hospital Discharge allowed for “homeless” option. The ongoing ‘safe discharge’
was to “housing’ disregarding Ms. Atherton’s life in New York City this was not accepted.

6.11 NY Presbyterian White Plains Hospital violated Ms. Atherton’s rights as ‘informed consent’ in administering
medical treatment for Mental Health Services. A Mental Health Patient is allowed to refuse treatment A “forced
conunjtrnent", still allows Ms. Atherton to ‘refuse treatment’.

6.12 NY Presbyterian White Plains Hospital - False Diagnosis - TBI Disability leads the survivor to prefer quiet

places _ there was nothing abnormal about Ms. Atherton’s circumstance NY Presebytcrian Hospital classified Ms.
Atherton as ‘mentally iIl’, with ‘behavior problems” violating the medical treatment necessary for a TBI person.

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Atherton ‘Liberty’ Complaint in New York State
6.13. Damages caused by NY Presbyterian White Plains Hospital, NY.

6.14 Freedom of Religion ~ refusal of mental health treatment on Freedom of Religious Practice Grounds was
disregarded

6.15 Medical Torture - using medical techniques that are not standard for TBI Rehabilitation _ inhibiting the TBI
healing process.

6.16 Medical Malpractice - NY Presbyterian White Plains Hospital using “mental illness techniques’ to treat TBI
Disability, administering drugs that are contra-indicated.

6.1? NY Presbyterian White Plains Hospital engaged in Abuse of Ms. Atherton during Treatment Period, through use
of ‘chemical restraint’, and ‘forced drugging".

6.18 Ms. Atherton was not a DANGER to SELF nor a DANGER to OTHERS - hence holding Ms. Atherton in a
Mental Health Facility as a ‘dangerous person’ is false.

6.19 NY Presbyterian White Plains Hospital colluded with Donavon Roberts and JO[NT DEFENSE TEAM under
RILEY SHANE KELLER to make Ms. Atherton appear ‘mentally ill" rather than Traumatic Brain Injured to settle
the l;";'r'ZOll Auto Accident Case. Ms. Atherton foiled both attempts by getting a neurological evaluation 3!2015
before NY Presbyterian White Plains Hospital discharge - showing NO MENTAL ILLNESS.

7.0 Injuries -
Ms. Atherton suffered physical, emotional, psychological, tinancial, and social reputation damage.

Ms. Atherton has had a delayed Traumatic Brain Injury recovery. Without experts to guide her she was slow to
recover memory issues. She has trouble coordinating tasks, and organizing events, and actions. Ms. Atherton is very
slow to execute, she gets mixed upfconfused easily, and cannot take multiple forms of stimuli1 which detract her focus
and concentration She has difficulty with geo-location. The malpractice in Weill Cornell HosptiaIfNY Presbyterian
White Plains Hospital destroyed emerging nuclei and neurons and synapse as her brain was beginning to heal. These
chemicals destroy this new emergence of brain cells, the development of nuclide1 and formation of neurons; placing
Ms. Atherton back to the point of injury. Ms. Atherton has lost 25 IQ points from pre-injury to present. Much of the
growth could have taken place with correct stimulation and reinforcement had Ms. Atherton gotten to a Traumatic
Brain Inj ury rehab center.

Ms. Atherton suffers emotionally, with nightmares that remain regarding the treatment received at the hands of Weill
Cornell HospitalfNY Presbyterian W`hite Plains Hospital. The combination of the population of other’ mentally ill
persons1 the horrific treatment from the Westchester County New York Supreme Court, the disregard of her religious
beliefs, the knowledge that her Brain was being attacked by ‘medication’ and forced into ‘physical and chemical
restraints’ are unforgettable. She cries when she recalls the social limitations forced upon her to co-habitat with drug
addicted persons, persons forced into the same LABEL as ‘mentally ill’ and the truly ‘mentally ill’. Ms. Atherton was
struggling to make sense of things as a Traumatic Brain Injured survivor, the added consequence of persons who
cannot conduct themselves with civility and compassion is grievous to Ms. Atherton. The constant accusation by Staff
about her conduct and statement entering misinformation in medical notes was clear Ms. Atherton’s reputation would
be forever damaged. Ms. Atherton is no longer is able to ‘cry’ as she fears a `concemed citizen’ will call Emergency
Medical Treatment Team and force her to a Temporary Detaining Order - with a “mental health’ record from past
‘long term commitment’ she is held against her will and ‘forcibly committed` for further observation.

Ms. Atherton’s economic recovery and re-entry back into a contributing member of society has been stalled as she has
been taken ‘0ff line’ from FSOT and Employment possibilities that include the President of the United States of
America of America under Clinton Global Initiative that offer her Traumatic Brain Injury accommodation Ms.
Atherton is continually displaced by these repercussions from the rl`raumatic Brain lnjury accident. Ms. Atherton has
lost her place in her profession as a Technology & Culture Entrepreneur using Visual Linguistics. Ms. Atherton has
been sidelined by Government Services who fail to understand her demonstration that she can overcome her

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Traumatic Brain lnjury disability has received a set back by a public withdraw of her person from society. She
endeavors to advocate for other Traumatic Brain Injured persons. Ms. Atherton finds herself continually ‘Weill
Cornell HospitalfNY Presbyterian White Plains Hospital.

8.0 CIVIL RIGHTS VIOLATION under Mental Health Community - Fundarnental ‘Liberty` in the United States of
Arnerica.

New York State courts have set clear guidelines for when hospitals can force medication on psychiatric patients. ln
the landmark Rivers v Karz case in 1986, which established the current standard of forced treatment, Judge Fritz
Alexander of the New York State Court of Appeals wrote a unanimous decision citing patients’ “fundamental liberty
interest to reject antipsychotic medication," including patients committed involuntarily to a hospital:

“In our system cfa free government, where notions of individual autonomy and free choice are cherished,
it is the individual who must have the final say in respect to decisions regarding his medical treatment,” wrote Judge
Alexander. “This right extends equally to mentally ill persons who are not to be treated as persons of lesser status or
dignity because of their illness." The decision ensured that a court must find patients to be ‘dangerous` or ‘incapable
of making treatment decisions’ before their right to refuse medication can be nullified. Rivers v. Katz, 6'}' NY 2d 485 -
NY: Court of Appeals 1986 “...hold that the due process clause of the New York State Constitution (art I, § 6) affords
‘involuntarily committed’ mental patients a fundamental right to refuse antipsychotic medication “While" [e]very
human being of adult years and sound mind has a right to determine what shall be done with his own body."
(Schl'oendorff v Socr`etv ofN. Y. Hosp., 2 f l NY 125. I29 ff 91 4]) and to "control the course of his medical treatment "
(Mntter ofStorar. 52 NYZd 363. 376 fl 981}'),

 

“An individual's liberty cannot be deprived by "warehousing" him in a mental institution when he is not
suffering from a mental illness or defect and in no need of in-patient care ‘*_t')_ti*l_lq and treatment[§l on a
ground which amounts to a presumption of a dangerous propensity..."Marrer of Wi'lh'ams, 157 F Supp 8?1,
8'?'6, affd sub nom. Overho!ser.) The NEW YORK Supreme Court has recently stated that: "[A] state may
not confine without more a non-dangerous individual who is capable of surviving safely in freedom by
himself or with the help of willing and responsible family members or friends" (O'Connor v Donal'dsnn,
422 US 563, 5?6).

The issue at stake here is viable personal liberty and right to conduct one’s lifei against a licensed psychiatrist
medical certification drawn from DMS _ V symptomology for ‘mental illness’ treatment placed before a court
who in the State of New York ratifies the Mental Hospital`s opinion 95% of the time. This indicates according to
recent New York Supreme Court riding the disregard of the intent of the law River v. Katz in favor of the
execution of the process of procedure contained in New York Statues: “Chief Justice BERGER, howevcr, in a
concurring opinion, expressed the belief that our concepts of due process would not tolerate the confinement of an
individual thought to need treatment where the sole justification for such deprivation of liberty is the provision of
some treatment.”(O’Connor v. Donaldson, supra, p 589).

Ms. Atherton’s rights as a Traumatic Brain lnjury Disabled person were completely ignored, trampled upon,
crushed as if they failed to exist. These Traumatic Brain Inj ury CIVIL RIGHTS were seen as no consequence by
the Westchester County New York Supreme Court. The confusion of Traumatic Brain lnjury disability through
observed behavior, mixed with the ‘symptom list of the DMS-V became a license by the Court to allow a
psychiatrist to wield their prescription pad as a weapon. This excess privilege of prescription pad to destroy, alter,
confuse, and medically torture Ms. Atherton in the name of mental health violates all the citizen protection laws
in the United States of America of America. None of the conditions required by law of a prospective patient to be
a clear danger to exist impeded these licensed psychiatrists The Westchester County New York Supreme Court
failed to exercise their duty of rational evaluation of argument, common sense. medical certainty, and conformity
with existing New York Laws that protect the Traumatic Brain Injury. Judge Murphy heedlessly proceeded to
ratify NY Presbyterian White Plains Hospital`s medical certification of ‘treatment procedure againstprotests,
facts of initial admission ‘plucking a citizen from the street", and following psychiatric admission New York State
regulations proven to have been passed over and excluded.

42 U.S. Code § 1983 - Civt't' action for deprivation of rights

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Atherton ‘Liherty’ Complaint in New York State
“Every person who, under coior of any statute ordinance regulation custom, or usageI ofany State or Territorj)
or the District of Coiuntbia, sufg,iects, or causes to be .rul)d,iectedl any citizen of the United States ofAmerica of
America or other person within the jurisdiction thereof to the deprivation of any rights, privite(g,resl or immunities
secured by the Constitution and taws, shaft be liable to the party injured in an action at Iaw, suit in equily, or

other proper proceedinger redress "

9.0 Relief - Wherefore, Plaintiff Arlene Atherton Demands judgment against all defendants in the sum of
$450,000 plus interest from July 2015 to present as Ms. Atherton continues to suffer from the actions of

defendants who failed to care for her Traumatic Brain lnjury Disability.

(THIS SECTION INTENTIONALLY LEFT BLANK)

 

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By signing below, I certify to the best of my knowledge, information, and belief that: (l) the complaint is not being
presented fro an improper purpose (such as to harass, case unnecessary delay, or needlessly increase the cost of
litigation); (2) the claims are supported by existing law of by a non-frivolous argument to change existing law; (3) the
factual contentions have evidentiary support or, if specifically so identified, will likely have evidentiary support after
a reasonable opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Federal Rule of Civil Procedure ll.

I agree to notify the Clerk’s Office in writing of any changes to my mailing address. l understand that my failure to
keep a current address on tile with the clerks Office may result in the dismissal of my case.

Dated May 29, 2018

/.

Si ed Name

Arlene R. Atherton _ Plaintiff"Pro Se
Printed Name

Confidential due to Emergency Protection Order
Chicago, II 60602

I have read the Pro Se (non-prisoner] consent to Receive Documents Electronically _ Yes_'§b

ONSENT TO ELECTRONIC DOCUMENT RECEIPT.

 

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Atherton ‘Liberty’ Complaint in New York State

Who is Ms. Atherton?

Ms. Atherton is an accomplished professional She has been a self-employed consultant her entire life. She
commenced her career with Pre-IPO consulting to Silicon Valley Startup lndustry. Ms. Atherton is a graduate of
Columbia University in the City of New York, and won Department honors for her thesis - Visuat` Linguistics. Ms.
Ather'ton has traveled extensively - going around the world - 4 times. Ms. Atherton has double degrees from Columbia
University - Art History, and Cultural Anthropology. She won awards for applying Structural Anthropology to the
Intemet in year 2000. Ms. Atherton had aspiration of working for the UNESCO after finishing her current consulting
work. Ms. Atherton was an international consultant at the time she was struck as a pedestrian in the auto accident
1!7!201 l.

Ms. Atherton was denied Medical Care in the State of New Mexico. She traveled in a ‘wheelchair` across 9 states
looking for Traumatic Brain lnjury Rehabilitation, and Traumatic Brain lnjury Medical Care. Ms. Atherton found
herself ‘stranded in rural areas of the United States of America of America’ - at the hands of Weill Cornell I*Iospitalif
Hospital in New York State; who could not understand her profession, or her mission to meet with her friend enroute
to Hartford lnsurance company handing the claim for the Traumatic Brain Inj ury. Weill Cornell Hospital)' Hospital is
less than 50 miles from New York City; home of the nations top ‘professions’, finest educational institutions, national
media, and medical research.

Ms. Atherton has the following accomplishments:

New York City
lsi Responder Civilian 9)'11
Writing the book “Going on - Memories of September l lth, 2001.
S.E. Asia Tsunami
Washington, DC Asia Society - Children Speak: Tsunami - a photographic essay of the 2005 SE
Asia Tsunami
o New York Asia Society - Children Speak: Tsunami - a photographic essay of the 2005 SE Asia
Tsunami
o George W. H. Bush Presidential Library - Children Speak: Tsunami - a photographic essay of the
2005 SE Asia Tsunami, with 51 minute Video of the US NGO who responded to the disaster -
2006 National Memorial.
Intemational Consulting
o Gulf Country - Visual Representation - Tourism Site - Arabic country - Islamic Society.
o Eastern Europe - Visual Representation - Culture Site - first ever pure - humanities driver web
site on Cultural topics of the Country - Country Branding.

She has continually been plagued with “mental illness’ diagnosis as Rural America from her ‘long term commitment’
could not understand a independent consulting life, and international career. Those records failed to reveal Ms.
Atherton’s skill in documentary photography in Culture. Ms. Atherton is the first FEMALE Technology & Culture
Entrepreneur to be accepted in the international community for 2lSt Century Intemet and Visual Representation
independent Contract advices to Governrnent Teams.

Ms. Atherton was grieved to find herself with the loss of her life savings 1.3 million dollar house, due to the accident
that caused the Traumatic Brain lnjury due to the ‘long term commitment’ failing to treat her Brain Injury. The ‘long
term commitment’ perpetuates the ‘misperception’ by rural America failing to respond to Ms. Atherton’s
professional life. The Weil Cornell Hospitali St. Vinccnt Hospital is unscrupulous as a FEDERAL HEALTH
INSURANCE Provider attempting to gain revenue from a ’patient suffering from the perils of poverty’ leads to this
Complaint.

Ms. Atherton is now forced to spend years in litigation- clearing her name from ‘mental illness` in order to return to
her international consulting work. The disregard by Weill Cornell Hospitali NY Presbyterian Whitc Plains Hospital
health care employees in a private institution refusing the Standard of Care Health Codes of the State of New York.
The acceptance by Weill Comell Hospital of the Civil Servants of the State of New York a) Law Enforcement
pretending to do a ‘medical evaluation’ of Ms. Atherton’s feet; b) ER Psych Unit mental health care workers in the

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field of Mental Hygiene; and c) Judge Murphy of Westcliestcr County New York Supreme Court in the discharge of
their duties has done extensive harm to Ms. Atherton.

Ms. Atherton submits this complaint for a “Jury Trial” in the UNIED STATES DISTRIC'I` COURT of Northern
Illinois -, who understands ‘intellectual property’ ‘private consulting’,’ and ‘rendering advice’ as a profession

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Atherton ‘Liberty’ Complaint in New York State
Parties in this Compliant
Plaintiff l
Arlene R. Atherton /
aaa-E.-s+e-seeei- /7 /» /`//'”/”“"'
New York, Nv 10022 121 v 54
/j / / &jé l z
Defendant l
162 E. 51st
New York Clty, NY 10022
(212)826-3211

Defendant 2
Weill Comell Hospital
668 York Ave

New York City, NY l???l
T- ?'????

Defendant 3

NY Presbyterian Westchester Hospital
21 Blloomingdale Blvd

Whitc Plains, NY 10605

T~(914) 682-9100

Defendant 4

Attending Physician

NY Presbyterian Westchester Hospital
21 Blloomingdale Blvd

Whitc Plains, NY 10605

T-(914) 682-9100

Defendaot 5

Westchester County New York Supreme Court
I-lon. J. Emmctt Murphy

l l l Dr. Martin Luther King Jr. Blvd.

Civil Department - 9th floor.

Whitc Plains, NY 10601

(914) 824-5300

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Atherton ‘Liberty’ Complaint in New York State
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Atherton ‘Liberty’ Complaint in New York State

l) New York Criminal Action _ ‘Kidnapping’ by Civil Servants

Ms. Atherton from the streets of New York City, NY. Ms. Atherton was discriminated against by New York Clty
Police Department 'I`hey used Ageism, Gender, and marital status, no traveling companions (a single female) to
discriminate against her. New York City should be known to be reasonably affluent, educated, and accustomed to
many visitors.

A) Encounter with Hasting-on Hudson Police:

On 12!9!20l5 Ms. Atherton had just filed Personal Protection Petition Order Friday iri downtown Manhattan NYC.
Ms. Atherton got off the 3"1 ave bus at Au Bon Pain and entered as a patron near 55"‘ street. She passed by the other
patrons entering the door. She was then outside alter the store closed. Ms. Atherton was crying. Her store had closed.
The protection order she just filed would have to be done again, as she was asked to ‘wait’ in another area by the court
officials, and never saw the judge There is no such thing as ‘plea bargain’ for stalking charges or a protection order. lt
is either granted or not granted She was stopped by a NYC Police officer. Ms. Atherotn explained that this encounter
could be a consequence of the protection order filed, and falls under the 3rd party stallcing laws of NY. If the police
officer participated it could impact his record. The NYC Police officer claimed he didn’t care if he lost his badge; he
was calling the EMT and having Ms. Atherton taken in. l~le let the EM'I` arrive and ‘make the call’ everyone thought
on the ‘safe side` that if Ms. Atherton was crying she should be checked. Since when is ‘crying on the streets of
America’ a dangerous offense? Or a break in reality? Ms. Atherton was taken to Weil Comell ER Psych ward and
then transported to NY Presbyterian Hospital in Whitc Plains, NY - a subsidiary of Weil Comell Hospital.

Only when she saw the records at the NY Presbyterian Hospital did Ms. Atherton find out there was a report that she
was ‘violent’ and injured a person by ‘hitting them’. This was a strong recollection by Ms. Atherton of SWVMI-II
who stated Ms. Atherton was unfit to live alone as ‘she might be accosted by someone and falsely accused of assault.’
That is what was taking place here. Regardless of Ms. Atherton’s protest that the ‘said person whom she “hit“ was not
named by the police, found by the police, or identified in the dispatch report Ms. Atheiton was treated as a danger to
others.

Crying is seen as therapeutic to the body:

“Crying is the shedding of tears in response to an emotional state. Emotions that can lead to crying
include anger, happiness, or sadness. The act of crying has been defined as "a
complex secretomotor phenomenon characterized by the shedding of tears from the |acrimai
apparatus . .A neurona| connection between the lacn`ma| gland (tear duct) and the areas of the human
brain involved with emotion has been established....lTears produced during emotional crying have a
chemical composition which differs from other types of tears. They contain significantly greater
quantities of the hormones pro|actin, adrenocorticotropic hormone, and Leu-enkepha|in,f§tand the
elements potassium and manganese.l31 When an individual experiences emotions such as sorrow, the
sympathetic nervous system still responds in this way. (Wikipedia.com)

The normal emotion of crying does not require the New York City Police, nor does it require the EMT, nor

does i`t mean a person is abnormal Understanding a normal state of being in a human is part of the New York

City Police officer’s job.

Kidnopping: Ms. Atherton had committed NO CRIME, NO THEF'I`, NO PROPERTY DAMAGE to indicate that she
was a liability to the New York City community. The summoning of the EMT by New York City Police was a ‘false
report’ to dispatch “medical service’ for Ms. Atherton. New York City Police wanted the appearance of ‘doing their
job” claiming citizen well-being to ‘medically evaluate her emotions for crying in public’. NYSC Penot' Code Section
135.20,2 et seq. (kidnapping, coercion, and related offenses)- an degree - Class B Felony. 2) He restrains the
person abductedfor a period of more than twelve hours with intent to: (o) lanier physical injuer upon him or violate
or abuse him sexually; " When the New York City Police officer summoned the EMT the intuition was to restrain Ms.
Atherton, have her locked up in a ?2 hr. TDO - 'I`emporary Detention Order. This qualifies as ‘kidnapping’ as Ms.
Atherton was not a danger to self, or others or unable to care for self. Not getting a Protection Order against this every
same event is the reason for the emotional distress leading to crying. This means it is perfectly OK to pluck someone
off the street and detain them against their will for an ordinary emotion.

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False Report: ln reality _ Ms. Atherton ended up at Weil Comell Hospital Emergency Psych Unit., not a jail, as there
was NO CRlME. Ms. Atherton States _ What does psychiatry have to do with her ‘expressions of sadness or being
ALONE, or being ‘mature age’, or being female? False Reporting to New York City Dispatch of an ‘incident’. NY
Penal Law § 240.503 Falser reporting an incident in the third degree (N.Y. PENAL LA W § 240.50). "A person t's
guilty of falsely reporting an incident in the third degree when, knowing the information reported conveyed or
circulated to be false or baseless, ” New York City Police had effected a 'l`emporary Detaining Order on an ordinary
citizen, for NOTH[NG, who was disappointed in not receiving a protection order about this very same set of events.

Profiling Bias,' New York City Police are guilty of a HATE CRlME while in the course of their profession. New York
City Police selected Ms. Atherton because she was a single, white female, absent of any friends or support New York
City Police officer duty is NOT TO EMT EVERY CALL AND TRANSPORT, but to evaluate the situation and respond
appropriately NY Ci'vt`l Rights Code Secti`on: 79-n." Bt'as-related violence or intimidation,' civil remedy. (a) "dr`sabt'lt'ty",'
(b) "age".' (c) "sexual orientation ",' (d) "gender. New York City Police exceeded their scope of powers by abusing their
authority to arrest civilians. This has occurred in various parts of the United States. A high profile case is the Trayvon
Martin shooting in Florida, who took advantage of his ethic heritage as African American (Black), from Miami Gardens,
FL (largest African American Community in FL) his age _ l'l (youth- no rights), unarmed (vulnerable), low-income (
under privileged _ education, access to the courts). In a similar manner New York City Police spotted Ms. Atherton as
isolated, sharing similar vulnerable characteristics as disenfranchised citizens of the United States. New York City Police.
orchestrated a means to remove Ms. Atherton from their community claiming they were only ‘doing their job.’

Dtsorderly Conduct by Police: Through the use of calling the EMT on Ms. Atherton New York City Police officers
not only ‘disturbed Ms. Atherton`s quiet enjoyment of the Au Bon Pain and 3rd Ave’, but created a public
scene to ‘forcibly directing’ Ms. Atherton into compliance with the EMT transport to Weill Comell Hospital as a form
of arrest. NY Penal Code - 240.20- disturbing the Peace - Q[)%nst`ve words.' “A person is guilty of disorderly conduct
when, with intent to cause public inconvenience annoyance or alarm, or recklessly creating a risk thereof 3. ln a
public place, lie uses abusive or obscene languageI or makes an obscene gesture,' " ln this manner New York Clty
Police were guilty of ‘disturbing the peace’ - using insulting words on Ms. Atherton as to her medical condition”. The
insulting word was that her “she needed medical attention" as a lure to call the EMT. ‘Crying on the street’ is not a
medical condition. Ms. Atherton never indicated any ‘pain’, she never stated a request to find ‘medical treatment’.
Her only upset was she would have to repeat the same events tomorrow to gain the protection order. New York City
Police fully intended via their call to EMT to take Ms. Atherton to a Psychiatric Emergency Room not a Physical
Medicine Emergency Room. The call to EMT and destination was deliberate on the Part of the Police. NY...New York
City-Police department broke New York Law using abusive language referring to Ms. Atherton ‘claiming she had no
purpose being there’. 'l`hey classified her as a ‘derelict” an ‘unwanted person’. The ‘public inconvenience’ The
obscene gesture is the ‘public humiliation’ of an EMT truck arriving in a business area at apx 5:00 PM. The public
inconvenience is Ms. Atherton as a member of the public is denied `freedom of movement’, liberty, and peaceful
occupation of a public street. Ms. Atherton was concerned that New York City Police had some aspect of retaliatory
treatment for Ms. Atheiton filing a Protection Order earlier; or responding to a ‘concerned citizen call _ typical of 3rd
party stalking. This is yet another ‘co-incidence’ Ms. Atheiton has experienced since the ll'llZOl l auto accident

New York Defamation by Clvll Servant.' By forcing transport for psychiatric evaluation of Ms. Atherton, New York
City Police Officers defamed5 Ms. Atherton’s health condition. New York City PoI ice on Hudson endeavored to give
Ms. Atherton a ‘Health History’ record under disguise of a ‘call of duty _public safety’ issue profiling her in advance
as a ‘mental illness‘ candidate by ‘alleging a person has a loathsome disease’. “Defaman'on.' whether spoken or
written, is limited to four categories of false statements that either (l)accuse a person of committing a serious crime.‘
(2) injure or damage a person's bustness, trade, or profession,' (3) allege that a person has a loathsome dt'sease,‘ or
(4) imputes unchastt'ty. Where a statement qualifies as defamation per se, the law presumes that damages will result,
avoiding the necessity of proving them separately " (http:llinjury.findlaw.comltorts-and-personal-injurieslwhat-is~
defamation-per-se-.html)

New York City Police refused to accept her, classifying her as ‘vagrant`. 'l`hey disregarded her Traumatic Brain lnjury
disability which makes her very fatigued and emotionally liable. Not only were they disrespectful1 they are making it
impossible to recover from the Traumatic Brain lnjury trauma with a medical history of ‘mcntal illness`. Ms. Atherton is
unable to regain social contribution in life by constant removal from society. Subsequent Temporary Detaining Orders,

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Atllerton ‘Liberty’ Complaint in New York State
due to the issues in this Complaint, and additional ‘mental health’ diagnosis l,ABELS restrict Ms. Atherton`s access to
disability accommodat ion under Americans with Disabilities Act of 1990.

a) New York Slander - New York City Police Department spoke untruly about Ms. Atherton’s conduct and her
ability to conduct herself in public. lt is this Police Report given to Weil Comell Hospital which triggered the
requirement for psychiatric treatment The Weil Comell Hospital report used for admission to NY Presbyterian
White Plains Hospital who delivered a Psychiatric LABEL under a ‘false diagnosis" as a ‘rnental illness1
diagnosis. "Slander is an untrue spoken statement about a person that harms their reputation and standing in
their community. A person injured by slander can bring a civil lawsuit against the party that made thefalse
statement."( https:tlwww.avvo.comllegal-guideslugctclaims-for-defamation-in-new-york)

b) Slander Damage: Hastings-on- Hudson Police actions led to the ‘false diagnosis; and precipitated successive
“forced commitments’ continuing to ‘label’ Ms. Atherton as an ‘unwanted person in society’. Ms. Atherton
was ‘plucked off the street` (kidnapped) for doing nothing but ‘breathing, crying, and occupying public space`.
This SLANDER has entered the Ms. Atherton’s medical records and attempts at employment lt continues to
recharacterise the ll'llZOll auto accident from a Traumatic Brain lnjury ‘sevcre` to one of `menta| illness‘
matching the DEFENDANT Driver’s claim of ‘rnental illness‘ when Ms. Atherton had a ‘Traumatic Brain
lnjury`. Employers are reluctant to have someone with a ‘long»term` ‘health history of mental illness`. 'I`hough,
Ms. Atherton is protected under Americans with Disabilities Act l990 for Traumatic Brain lnjury disability -
there is such a social stigma with ‘ruental illness‘ and `uncontrolled behavior’ that employers don`t want to take
the chance. Ms. Atherton is not unstable or unsuitable for employment

B) False Reporting to New York City Dispatch of an ‘incident’. Ms.
Atherton states that there was a FALSE REPORT by some civilian to dispatch New York City Police. Police
should have accepted Ms. Atherton’s statement that she was ‘crying in upset at not getting the protection order.’
and not in need of medical attention. Ms. Atherton states that this demonstrates the Profiling Bias by New York
City Police by failing to to resolve an ordinary issue. NY Penal Law § 240.50 Falsely reporting an incident in
the third degree (N. I". PENAL LA W § 240.50). "A person is guilty offalsely reporting an incident in the third
degree when, knowing the information reported conveyed or circulated to be _)?tlse or baseless he or slie... “2.
Reports, by word or action, to an official or quasi-official agency or organization having the_timction of dealing
with emergencies involving danger to life or property, an alleged occurrence or impending occurrence of a
catastrophe or emergency which did not in_t?tct occur or does not in fact exist; ”

New York City Police knew there was no such emergency that exists, nor does Ms. Atherton need medical
treatment for crying.

C) HATE CRIME by New York City Police
New York City Police selected Ms. Atherton based on her vulnerable profile as outlined above, with the ability to
use their ‘police powers’ to harm Ms. Athenon based on her incongruent presentation with the demographic
profile of the inhabitants of New York City.
NY Civil Rights Code Section: 79-n. Bias-related violence or intimidation; civil remedy
“l. The following definitions are applicable to this section.'
(a) The term "disability” means a physical or mental impairment that substantially limits a major life activity.
(b) The term ”age" means sixty years of age or more.
(c) T he term "sexual orientation " means a person 's actual or perceived homosexualityI heterosexuality, or

bisexuality.

(d) The term "gender ” means a person 's actual or perceived sex and shall include a person 's gender identity or
expression
2. Any person who intentionally selects a person or property for harm or causes damage to the property o_f
another or causes physical injury or death to another in whole or in substantial part because of a belief or
perception regarding the race, color, national origin. ancestry, gender, religion, religious practice, age, disability
or sexual orientation of a person, regardless of whether the belief or perception is correct, shall be liable, in a
civil action or proceeding maintained by such individual or group o_f individuals for injunctive relief damagesl
or any other appropriate relief in law or equity if it shall appear to the satisfaction of the court or justice
that the respondent has, in fact, violated this section, an injunction may be issued by such court or justice,
enjoining and restraining any _fitrther violation, without requiring proof that any person has, in 'fact, been
injured."

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New York City Police SELECTED Ms. Atherton for a TDO - that is harm - a temporary detention for ‘crying on
the street’. Losing her life for 59 days in a mental hospital _ insane asylum is HARM.

At NY Presbyterian Whitc Plains Hospital initially her doctor prescribed Haldol for Ms. Atherton. Haldol is
administered for persons who are ‘psychotic’- only 100,000 people have a psychotic break in a single year. How is a
normal emotion like crying considered psychotic? Wouldn’t that make the entire population of America psychotic to
evidence it based on ‘crying in public’?

Attending Physician forced a ‘rnedication over objection’ with Ms. Atherton at WESTCHESTER COUNTY Mental
Health Court. She was forced to appear on a ‘gurney’ in restraints, or she was not allowed to go to Court. Ms. Atherton
was humiliated and demeaned before she ever opened her mouth by this type of treatment Ms. Atherton offered to
WALK to the Court which was denied. The WESTCHESTER COUNTY COURT did not accept Ms. Atherton`s
statement that she did not ‘hit’ anyone, and was falsely accused. Ms. Atherton explained to the Judge and to the court that
this was 3"1 party stalking used to obtain a ‘mental health diagnosis’, the very reason she went to Court to obtain a
Protection Order. There was no witness to the ‘hitting of another person’ No Named victim, no hospital report required
based on injury. lt was an entire fabrication to create a ‘mental illness‘ diagnosis.

II) New York State Regulations: NY Mental Hygiene Law §31.01 - 31.37. Det'mitions of Mental Illness, lntellectual
Disability, Disability Law. Americans With Disabilities Act 1990 Disability protection

Ms. Atherton’s Traumatic Brian lnjury Disability rights were violated when New York City Police labeled her
‘mentally ill’, and placed a call to the Emergency Medical Treatment for a Temporary Detaining Order at Weil
Cornell Hospital in New York City. FEDERAL CIVIL RIGHTS - Disability Discrimination: Americans with
Disabilities Act 1990 has been violated 42-12101.

Americans With Disabilities Act 1990 Disability protection

42-12101

(1) Findings) physical or mental disability in no way diminish a persons right to fully participate in all aspects of
society, yet many people with physical and mental disability have preclude from doing so because of discrimination;

others who have a record of disability also have been subjected to discrimination;

(2) historically, society has tended to isolate and segregate individual with disabilities ..

(3) discrimination against individual with disabilities persists in such critical areas as employment, housing. public
accommodation, education, transportation, communication, recreation, institutionalization, health services, voting, 1
and access to public services.

(4) unlike individual show have experienced discrimination n the basis of race, color, sex, national origin, religion or
ages, individual who have experience discrimination on the basis of disability have had not legal recourse to redress
such discrimination

(5) individuals with disability continually encounter various forms of discrimination, including out right intentional
exclusion...overprotective rules, and policies, ....exclusionary qualification standards and criteria, segregation, and
relegated to lesser services programs activates benefits jobs and other opportunities

(6) census data, national polls and other studies have documents that people with disability as a group, occupy an
inferior stat in our society and are severely disadvantaged socially, vocationally, economically and educationally.

(?] the Nation‘s proper goals regarding individuals with disability are to assure equality of opportunity, full
participation, independent living, and economic self sufficiency for such individuals

8) The continuing existing of unfair and unnecessary discrimination and prejudice denies people with disability the
opportunity to compete on a equal basis and to pursue those opportunities for which our free society is justifiable
famous, and costs to the United State billion of dollars in unnecessary expense resulting form dependency and non
productivity

Violations of ADA 1990 can lead to suspension under 42 U.S. Code § 1010 - Other administrative provisions of
MEDICA[D/MEDICARE benefits paid to participating institutions.

FEDERAL DEFINITIONS of Disability 42-121 102
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Atherton ‘Liberty’ Complaint in New York State

(l)Dei`mition of disability

The term disability means with respect to an individual _ (A) a physical or mental impairment that substantially limits
one of more major life activity of such individual. (B) a record of such impairrnent; or (C) being regarded as having
such impairrnent. . .

(2) Major life activities U.S.C. 42-121102

(A) In general
Major life activities include but are not limited to caring for oneself, performing manual tasks, seeing,
hearing, eating , sleeping, walking, standing, lifting bending, speaking, breathing, learning, reading
concentration, thinking communication and working.

{B) Major bodily functions
Major life activity also includes the operation of major bodily function, including but not limited to,
functions of immune system, normal cell growth, digestive, bowel, bladder, neurological, brain
respirator circulation endocrine, and reproductive fuctions.

(C) Regarded as having an impairment
An individual meets the requirement of being regarding as having such an impairment, if the
individual establish that he or she has been subjected to an action prohibited under this chapter
because of actual or perceived, physical or mental impairment Whether or not the impairment limits
or is perceived to limit a major life activity.

A) New York State Law on Mental Illness

New York Mentnl Hygiene Law g§ 1.03 Defim'rions “Menta! I!!ness’

“The individual is 18 years of age or older and currently meets the criteria for a DSM-V psychiatric
diagnosis other than alcohol or drug disorders, organic brain syndromes, developmental disabilities or
social conditions."

14 CRR-NY 580.1 Defim'tion - ‘Menta! Illness’ -“a disorder or disturbance in behavior, fceling, thinking
or judgment so severe as to require care and treatment for mental illness.”

New York Menra! Hygiene Law § 1103 Defim'tr°ons

“Mental disability” means mental illness, mental retardation, developmental disability, alcoholism,
substance dependence, or chemical dependence A mentally disabled person is one who has a mental
disability." “Services
for the mentally disabled" - “means examination, diagnosis, care, trcauncnt, rehabilitation. or training of
the mentally disabled."

B) New York State Law on ‘ Intellectual Disability’

NY lntel!ectually Disabled - NYS Mental Hygiene Law§ I. 03 Defr`m'tc'ons
“Developmental disability” means a disability of a person which: (a)
(1) Is attributable to mental retardation, cerebral palsy, epilepsy, neurological impairment, familial
dysautonornia or autism;

(2) Is attributable to any other condition of a person found to be closely related to mental retardation
because such condition results in similar impairment of general intellectual functioning or adaptive
behavior to that of mentally retarded persons or requires treatment and services similar to those required
for such person; or (3) Is
attributable to dyslexia resulting from a disability described in subparagraph (1) or (2) of this paragraph;
(b) Originates before such person attains age twenty-two;

(c) Has continued or can be expected to continue indefinitely; and

(d) Constitutes a substantial handicap to such person's ability to function normally in society.

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C) State of New York Disability Rights -

New York Executive Law - Executive § 'll]l“- a disabled person is an “... individual: (a) a physical or
mental impairment that substantially limits one or more of the maj or life activities of such individual;”
Disability Rights New York - A New York Agency
Vision Statemellt: DRNY envisions an inclusive world that provides equal opportunity1 for individuals
with disabilities- one that is free from discriminau'onl abuse and neglect "
New York Disability Rights Definiu'on "A disability is defined as a past or present physical or
mental impairment that substantially limits or has limited one or more maj or life activities”.
NY All Disabled persons eligible for ACESS - VR Vocational Rehabilitation administered under NY
Department of Education _"Assisting Persons with Disabilities to achieve and maintain employment,
and to support independent iiving."

D ) New York State Laws of Traumatic Brain lnjury as a disability

New York Public Health Law § 2741. Ddiniu`ons - “the term "u'aumatic brain injury" means an
acquired injury to the brain caused by 3a external physical force resulting la total or partial
disability or impairment and shall include, but not be limited to damage to the central nervous
system from anoxic/hypoxi'c episodes or damage to the central nervous system from allergic
conditions toxic substances and other acute medical/clinical incidents Such term shall include, but
not be limited to, open and closed brain injuries that may result in mild. moderate or severe
impairments in one or more areas, including cognirion, languageI memory allenn`on, reasoning
abstract thinking judgmentl problem-solving sensory percep!ual and motor abilitiesr psycho-
social behavior, physical functions information processing and speech. Such term Shall not include
progressive dementi'as and other mentally impairing conditionsl depression and psychiatric disorders
fn which there is no known or obvious central nervous system damage, neurological. metabolic and
other medical conditions of chronic, congenital or degenerative nature or brain injuries induced by
birth t`rauma. "

New York Social Services Law § 365-m Character and adequacy of assistance - "(h) speech
lherapy. and when provided ar the direction o_)"a physician or nurse practitioner, physical therapy
including related rehabilitative services and occupational lherapy.' provided however. that speech
rherapy, physical therapy and occupational therapy each shall he limited to coverage of rn-'enty visits
per year,‘ such limitation shall not apply to persons with developmental disabilities or,
nonvithstanding any other provision of law lo the conlraijv. to persons With traumatic brain
inivr:r;”

We classified the brain injury into the following categories: anoxlc, vascular, infectious
inflammatory traumatlc, toxic-metabolic, tumor-related and seizures
(https:llwww.ncbi.nlm.nih.govlpmclarticleslPMC4'l9l923l)

E) New York State Traumatic Brain lnjury Program
“A traumatic brain injury (TBI) is an injury to the brain or skull caused by an extemal force, such as a strike or
impact." Brain injuries are ofien permanent and disabling, unlike other injuries, such as broken legs or cuts that can

heal.” lhttps:llwww.health.ny.govlpublicationsl0660l).

New York Public Health Law § 2 740. Traumatic brain injury program.

“'l` he department shall have the central responsibility for administering the provisions of this article and
otherwise coordinating the slate's policies with respect to traumatic brain lnjury. in consultation with the o[j’ice of
mental retardation and developmental disabilities the office of mental lieallh, the department of education, the
oljice of alcoholism and substance abuse services, the department ofsocial services, the office o_)"rhc advocare_for
the disabled and the commission on qualin ofcarefor the mentally disabled "

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Atherton ‘Liberty’ Complaint in New York State

New York State 'I`BI - Department of Health Services - Statistics of Incidence in New York State
l Nearly 400 incidents of traumatic brain injury occur daily in New York State, resulting in emergency
room treatment or inpatient hospitalizationl
¢ Each year, "l`Bls result in more than 2,000 deaths, 19,000 hospitalizations and over 112,000 emergency
department visits among New York State residents
0 The leading causes of TBI continue to be falls, motor vehicle crashes, and assaults."

F) New York State Traumatic Brain lnjury (TBI) Waiver Program.
Traumatic Brain lnjury Waiver

¢ One component of a comprehensive strategy developed by the NYS Department of Health to prevent
unnecessary entrances into nursing homes and to help individuals leave nursing homes to live in the
community

0 Provides ll Medicaid-h.inded services needed to assist participants to live in community-based settings
and achieve maximum independence; services are used in combination with existing Medicaid services

¢ Participants may be eligible for rent subsidies and housing supports and limited one-time payment for
furniture and household supplies

» Each recipient must be given the choice of living in the community or in a nursing facility, and - if
choosing the community _ a living arrangement that can meet his or her needs.

G) PATBI - Protection and Advocacy for Traumatic Brain lnjury Disabled Persons in New York State.
“Ensurc that individuals with Traumatic Brain lnjury (TBI) will be afforded meaningh.ll access to the New York State
TBI Waiver program, Nursing Home Transition and Diversion (NHTD) Waiver, and other supports and services

NY State PATBI clients "are individuals a with acquired or traumatic brain injuty. " Advocate for individuals with
TBI who are unnecessarily institutionalized, including out-of-state nursing facilities; Advocate for access to
appropriate supports and sentices, particularly when denial is due to behaviors associated with TBI."
Priority l
* Advocate for individuals with TBI who are unnecessarily institutionalized, including out-of-state
nursing facilities;
' Advocate for access to appropriate supports and services, particularly when denial is due to
behaviors associated with TBI;
‘ Advocate for individuals with TBI who are dually diagnosed and eligible for other waivers to
receive cross-system services and supports;

' Monitor the transition of waiver services to a Medicaid Managed Care system.
Priority ll
a. Conduct outreach, education and provide technical assistance to ensure that individuals including

individuals in underserved communities throughout New York State know about DRNY, the P&A
system, and can access appropriate services for individual with TBI
' Provide training, create publications and conduct outreach to clients, advocacy groups judges
providers and policy makers;
- Conduct outreach on the P&A system and DRNY throughout New York State and identify barriers
to underserved communities
Patients and Advocacyfor Assistive Technology
Priority IV
0 Conduct outreach and provide education and technical assistance to ensure that individuals with
disabilities, families, advocacy groups providers and policy makers, including underserved
communities throughout New York State know about DRNY, the P&A system, the PAAT program,

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and the rights of individuals with disabilities to access AT.
Objectives

' Identify and address systemic barriers to obtaining AT with specific focus on underserved
communities including Veterans with AT needs;

' Educate and provide technical assistance to individuals with disabilities, families, providers, vendors,
school personnel, advocacy groups and policy makers about the use of AT to improve access to
independent living, school and post-secondary learning or employment;

' Conduct outreach about the P&A system, the PAAT program, and the rights of individuals with
disabilities to access A'I`.

lIl) Weill Cornell HospitalfNY Presbyterian Whitc Plains Hospital Admission Guidelines according to Federal
and State Medical Guideiines discriminating against Ms. Atherton’s Traumatic Brain lnjury ('I`Bl)

ln New York State ‘Mental Health’ services are to be rendered to “mentally ill’ either in a community setting as
out-patient, or ‘Acute Hospital in-patient' residential setting. New York Mental lj)giene Law § 5.07 Es'tablishmmt of
stinewicie annp‘ehensive pbns ofservices_)?)rpa'som with mental disabilities] Acute Hospital in-patient’ for Mental Health
Services arc defined! CHAPTER Xlll. OFFICE OF MENTAL HEALTH PAR7587.14 CRR-NY 537.[3NY-CRR "(a) An
intensive psychiatric rehabilitation treatment program is time li'mitea'... (b)(l) a designated mental illness diagnosis,'
(2) a dysfunction due to mental illness which is likely to continue for a prolonged time,' (3) readiness to participate in
a designated intensive psychiatric rehabilitation treatment program; and (4) referral by a licensed

practitioner. ' ...(h)The provider of service of an intensive psychiatric rehabilitation treatment program shall develop
a plan for assuring continuity of care within the mental health system ana' other service systems (e.g.. social services,
health care, local correctional systems). Sach plan shall be subject to approval by the Office of Mental Health. (i)
Admission to an intensive psychiatric rehabilitation treatment program shall occur within the first three visits. "

A) Mental Health Trcatmeot
Ms. Atherton’s admission to NY Presbyterian Whitc Plains Hospital was not time limited. She was given a
FALSE `mental health’ diagnosis, Ms. Atherton had no ‘mental illness‘ likely to continue for a prolonged time.
The designated intensive rehabilitation treatment program has a pecuniary interest from the referring licensed
provider with a conflict of interest At St. Vincent Hospital there was never a "Treatment Plan’ developed. The
presumption is a person referred to an intensive rehabilitation treatment program has had prior history seeking
mental health services on an ‘outpatient’ basis. Ms. Atherton NEVER sought ‘Mental Health’ services from any
provider, and it would be against her religious beliefs to do so under Scientology. To protect the residents of` New

York State, the 14 CRR-NY 587.13NY-CRR requires at least 3 visits on an ‘out-patient’ basis to
remove the possibility of abuse of psychiatric authority resulting in involuntary punishment in the
name of Mental Health.

New York State offers ‘Mental Health Treatment’ in `outpatient’ clinic settings, which includes `Crisis
Intervention’ for people with a psychiatric emergencyl This means that even if a ‘Mental Health’ diagnosis were
valid for Ms. Atherton, there was no reason for St. Jospeh Mcdical Center to refer her to St. Vincent Hospital for
‘in-patient’ psychiatric care. NY-CRR § 599.7 Rights of recipients “(3) Participation in treatment in a clinic
program is voluntary and recipients are presumed to have the capacity to consent to such treatment. The right to
participate voluntarily in and to consent to treatment shall be limited only pursuant to a court order or in
accordance with applicable provisions of law.”

Once Ms. Atherton was admitted to NY Presbyterian White Plains Hospital she was placed on a regimen that had
nothing to do with her actual medical condition of ‘Traumatic Brain Injury’. As discussed in Scction

‘Medical Tor'ture’ there is little evidence oi` patient improvement in the treatment administered According to NY-
CRR § 599.3 Applicability. (s) Eviclence-based treatment means an intervention for which there is consistent
scientific evidence demonstrating improved recipient outcomcs. Consequently, Dr. Stabinsky and Weill Comell
HospitaltSt. Vincent Hospital broke the law with this treatment procedure

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Atherton ‘Liberty’ Complaint in New York State
B) Traumatic Brain lnjury Disability
“Mental Health" services are NOT rendered to a patients who is disabled for other reasons than 'Mental
Health' . New York State protects persons with a ll\/lental Disability' span mental illness, mental retardation,
developmental disability, substance dependence, and neurological impairment Persons protected under
American’s with Disability Act of 1990 are recognized under New York Law as a protected 'lntellectual
Disability' ~ Acquired or Traumatic Brain In jury as neurological impairments

Ms. Atherton’s CIVIL RIGHTS for Disabled Persons Rights, Traumatic Brain lnjury Disability Rights, and
Americans with Disabilities Act 1990 were denied when Ms. Atherton was forced into ‘Mental Health" treatment
with Weil Comell Hospitall NY Presbyterian White Plains Hospital. As demonstrated in Section ll _ Deiinitions
of Mental Illness and Traumatic Brain lnjury. Ms. Atherton doe NOT flt the New York State definition of ‘Mental
Illness’. Ms. Atherton does have a qualified New York State Disability - protected under State and Federal
disability rights as an ‘lntellectual Disability"; a neurological impairment due to Traumatic Brain Inj ury.

‘Post~Acute’ phase for a Traumatic Brain lnjury - the condition is treated on and ‘outpatient services’ basis
through Neuropsychologists. Neuropychologists are found in Private Practice, and in Hospitals. lt is the Teaching
Hospitals who have Neurolpsychologists on staff. New York City has the greatest number of teaching hospitals in
the country, which accept MEDICAID insurancel Ms. Atherton is a MEDICAID recipient in New York City to
obtain Traumatic Brain lnjury Evaluation. Weill Comell Hospital is in the center of New York City. The
understanding of Traumatic Brain lnjury at presentation should have been apparent to Weil Comell Hospital
medical personnel given the proximity of Advanced Research for Traumatic Brain injury care in New York City.
Ms. Atherton had an appointment with Weill Comell Neuropsychologist for TBI evaluation Ms. Atherton should
have been released at Admission assessment and returned to her pursuit of Traumatic Brain injury care in New
York City.

C) Disregard of Medical Standard to evaluate Traumatic Brain lnjury Condition.

The Ranchos Los Amigos Scale evaluates symptomology of Traumatic Brain lnjury from mild, moderate,
liO

severe.
a) "l`he Ranchos Los Amigos Scale Traumatic Brain Inj ury (TBI) evaluation ranks the emotional and social problems.
All Traumatic Brain lnjury survivors experience heightened emotional liability. ‘crying on the street` is a typical
condition for someone with a Traumatic Brain lnjury. One must examine past the original presentations to
understand the emotional trail of someone with a Traumatic Brain lnjury. This emotional variation cannot be treated
by pharmaceuticals Anger is part of the TBI matrix and healing process. All TBI survivors experience heightened
sense of anger. This cannot be treated by drugs, and could be facilitated in Group Therapy with other TBI survivors
for anger management control. Emotional control could be facilitated in Group Therapy (such as C.R.A.T.E.R._ see
httptl:tbira.org/Emotionali'l"reatments) with other Traumatic Brain Inj ured survivors The Brain lnjury Association of
America lists Certified Brain lnjury Therapists who use this Rancho Los Amigos Scale to measure the recovery
experienced by the patient. A chemical mask is applied when utilizing pharmaceuticals prohibiting trained Traumatic
Brain Inj ury professionals from interacting with and recording the progress by the Traumatic Brain lnjury survivor.
b) T he Ranchos Los Amigos Scale shows that fatigue problems are typical with the nature of Ms. Atherton ’s injuries
New York City Police

failed to understand fatigue and ‘resting’ are part of Traumatic Brain lnjury symptomology. In NY Presbyterian Whitc
Plains Hospital Ms. Atherton continued to rest.
c) The Ranchos Los Amigos Scale shows that acoustic sensitivity (loud sounds) are typical with the nature of Ms.
Atherton’s injuries,
Ms. Atherton was upset in a business area of New York City, she found helrself in a large city, with her task required
to be repeated, under sensory assault. Sensory impairment is never cited as Mental ll[ness. Mental Illness is a
chemical imbalance, or degenerative condition, that impairs neurological activity.

iV) Weil Comell Hospitall NY Presbyterian Whitc Plains Hospital applied ‘Mental Health Evaluation` instead of
Traumatic Brain lnjury (TBI) at Admission and Discharge violating Federal Disability Law. Americans with
Disabilities Act 1990.

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A) Admission Weill Cornell Hospital 12t9l2015

Ms. Atherton presented at Weil Comell Hospital in New York City, NY - admitted to the Psych Ward Emergency
Room. Ms. Atherton protested that she did not want any medical treatment. She stated that she was only ‘crying’
while sitting at the planter bench. Ms. Atherton has a documentable Traumatic Brain lnjury disability, and suffers
from fatigue, which is why she was resting Ms. Atherton told the intake person at the Weill Comell Hospital she
has Traumatic Brain lnjury disability - medical staff ignored her statements Though, she is protected under
(Americans with Disabilities Act 1990) Americans with Disabilities Act of 1990 - she is now in the domain of the
Weill Comell Hospital ER Psych-ward This means the Psychiatric physicians deal with the mind and behavior,
they believe they are in charge of anything to do with the brain. Once admitted, these physicians were in control
of Ms. Atherton.

As is customary an ‘intake history’ should be performed prior to administering medication or determining
treatment No intake history was perfonned. No questions were asked of Ms. Atherton. Ms. Athetton asks the
United States District Court of Northern Illinois what ‘ordinary emotions of crying‘ have to do with ‘her brain’
and a supposition of ‘mental illness’, or being ‘psychotic” for which she was being evaluated? Ms. Atherton
recalls being asked for labs. She wanted ‘no labwork’ performed Ms. Atherton was told she was going to receive
an ‘intramuscular injection` to calm her down. Ms. Atherton did not want to receive an IM. All of this was
catapulting astray by the police report, the EMT notes, and intake physician’s who need evidence of ‘mental
illness‘ to admit Ms. Atherton and ‘do their jobs.’

Though, Ms. Atherton made no statements to New York City Police, or to any of the Health Care Workers of
‘Danger to seli”, ‘Danger to others’, or demonstrable “Unable to care for sell". Weil Comell Hospital chose to
admit Ms. Atherton for observation and treatment at NY Presbyterian Whitc Plains Hospital a subsidiary of Weil
Comell Hospital.

B) Admission NY Presbyterian White Plains Hospital 12t11l2015

Ms. Atherton was brought to NY Presbyterian White Plains Hospital via EMT van transport, seated and helped
down by attending staff. Ms. Atherton walked to the admission area of the Adult Psychiatric Unit. At Admission
Ms. Atherton was requested to sign ‘consent to treatment’ Ms. Atherton refused to si gn. Ms. Atherton wanted NO
MENTAL HEALTH TREATMENT. NY Presbyterian Whitc Plains Hospital failed in their admission guidelines
to consider all of Ms. Atherton’s statements of being an ‘irmocent consumer’ at Au Bon Pain in New York City..
NY Presbyterian Whitc Plains Hospital saw Ms. Atherton as a ‘mentally ill‘ person only, ignoring her statements
that she was ‘upset’ from her Traumatic Brain lnjury and failing to get the protection order.

NY Presbyterian Whitc Plains Hospital violated Ms. Atherton’s ‘intellectual disability’ accepting her for care in their
facility: discriminating on her poverty, and the fact she was alone with no companions to vouch for her. There was a
continuous disregard of Ms. Atherton’s lntelligence, need to safeguard the ‘cognitive functioning’ of her brain. Ms.
Atherton was treated as an economic unit ~ taking advantage of her poverty, and forced into MEDICAID treatment as
a ‘mental health’ patient.

Weill Comell Hospital broke NY Public Health Law 45 § 2983R by creating a paper trail in absence of fact that there
was NO EVlDENCE of MENTAL ILLNESS for Ms. Atherton. lt is this opinion from an attending physician in Weil
Comell Hospital that allowed Ms. Atherton to be admitted to NY Presbyterian Whitc Plains Hospital. Using the
presumption from a licensed psychiatrist that Ms. Ather'ton ‘lacked capacity’ under a diagnosis of‘ ‘paranoid~
schizophrenic’ she lost her civil rights, her liberty, and her protection under Arnericans with Disabilities Act 1990 for
her Traumatic Brain lnj ury.

This repeated moral crime of taking advantage of the social slippage of Ms. Atherton’s Frontal Lobe lnj ury in order to
enrich the NY Presbyterian White Plains Hospital who secured FEDERAL HEALTH CARE PAYMENTS has
continues based on the ‘long term commitment’ history from the original ‘Brain lnjury for the Poor`. NY
Presbyterian Whitc Plains Hospital psychiatrist ignored Ms. Atherton`sstatements about pretection orders or that she
was falsely accused of ‘hitting’ someone. Lack of oversight by Offlce of Inspector General of the State of New York

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Atherton ‘Liberty’ Complaint in New York State
and Joint Commission would allow NY Presbyterian White Plains Hospital to FASLEY INPRISON Ms. Atherton,
depriving her of ‘Constitutional Rights (Katz v. Rivers); They were free to abuse, mi streat, and exploit her physically,
medically, psychologically, emotionally, and socially.

Ms. Atherton is a single, white, and a professional female - 53% of women in the United States of America of
America are head of household with or without children. There are numerous citations defining a ‘disabled person’
in the State of New York. Ms. Atherton meets all the criteria for the physical disability _ Traumatic Brain lnjury
disability. Disabilities include: Sensory, Social Skills, Skeletal, and Systemic due to her injuries in the li"}')'ZOl]
Auto-Accident. Weill Comell Hospital/ NY Presbyterian Whitc Plains Hospital discriminated against Ms. Atherton
due to her age, single status, lack of children, and no ‘relationship` support These are poor reasons to have the
Westchester County Mental Health Court ‘forced commit’ Ms. Atherton. This is against Constitutional Rights
regardless if there is a doctor`s signature next to the diagnosis There was absolutely NO EVIDENCE of ‘Mental
Illness’ based on Weill Comell Hospitalx‘ NY Presbyterian White Plains Hospital medical records that apply to the
definition of New York State ‘Mental lllness’.

C) Discharge Well Cornell Hospital 12:'11!2015
Ms. Atherton was discharged to NY Presbyterian Whitc Plains Hospital, Ms. Atherton placed in a medical
transport van EMT vehicle for admission. Ms. Atherton waited over 2 hours before being admitted to NY
Presbyterian Whitc Plains HospitaU

D) Discharge NY Presbyterian Whitc Plains Hospital 2f2!2015

Ms. Atherton had asked her attending physician for a discharge from the time she arrived in the facility. NY
Presbyterian Whitc Plains Hospital disregarded Ms. Atherton’s desire to be returned to the community. Ms.
Atherton had been spending the last 2 weeks documenting the admission and stating the 3“j party call to the police
that resulted in her admission lt was Ms. Atherton who stated the present ‘commitment’ period was nothing more
than MEDICIAlD FRAUD. Shonly after that the Attending Physician wanted no part of `medicaid fraud’ and
allowed her release This was coordinated with the social worker NY Presbyterian Whitc Plains Hospital stated
they wanted a ‘safe’ discharge and would only discharge Ms. Atherton to an institution, who allowed the release to
a homeless shelter. The ‘forced commitment’ at NY Presbyterian Whitc Plains Hospital follows the same pattern
of Police Adrnission, false diagnosis, ‘warehousing’, and eventual release after damage has been done to the New
Mcxico Personal lnjury Case. Ms. Atherton was released to her own recognitive.

V) Weill Cornell HospitaUSt. Vincent violated New York State Ofi`lce of Mental Health Services
Admittance Regulations for LEGAL CRITERIA “Public Safety”- DangerMental Healtthare for Selt`”.
Judge Emmett J. Murphy violated the Disabilities Rights of New York State for Ms. Atherton to have Traumatic
Brain lnjury care. He agreed with Weill Comell HospitaU NY Presbyterian Whitc Plains Hospital’s medical argument
of ‘paranoid- schizophrenic’. Police found Ms. Atherton found alone - no companions (no witnesses) in New York
City. Weill Comell Hospital psychiatric assessment favored ‘serious mental illness’.

The key requirement for retention of a mental health admission contained in section 9.3 7 ofthe Mema! Hygiene Law,
is l) danger to self; 2) danger to others; 3) unable to care for self.

Danger to Se{f- substantial risk of physical harm to himself as manifested by threats of or attempts at
Suicide, or serious bodily harm or other conduct demonstrating that sfhe is dangerous to himself. Ms.
Atherton never expressed any comments for self-harm. Therefore, Ms. Atherton was not a danger to Self.

Dnnger to Others ~ a substantial risk of physical harm to other persons as manifested by homicidal or
other violent behavior by which others are placed in reasonable fear or serious physical harm. This is the ‘public
safety‘ argument made to detain people. "Ms. Athetton has never been violent. Ms. Atherton had uttered ‘no words’
that indicated a threat to other people, to property, or to the community Ms. Atherton was not a danger to others.

Unable to care for se!f- Ms. Atherton was a ‘tourist’ in New York City - just as she was a ‘tourist’when she was in
the auto accident that caused the Traumatic Brain Inj ury. Ms. Atherton was able to care for herself since the accident

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as evidenced by CHRISTUS St. Vincent Regional Hospital discharge for ability to live independently Ms. Atherton
had demonstrated ‘self care.’ It is the Rivers v. Katz which states that a person cannot be deprived of ‘personal
liberty’ under either the assumption that there is a ‘danger` which is not present, or that ‘treatment’ is available

According to New York Court of Appeals decision (Kor.z v. Rivers), it is the need for immediate ‘in-patient treatment’,
which justifies deprivation of liberty upon a theory of ‘dangerousness’. (See Go!dstei'n and Katz, Dangerousness and
Mental Illness.) Absent such a finding, a dangerous propensity is in itself, insufficient to permit involuntary
commitment MA TTER OF TORSNEY (MENTAL HYGIENE), 4 7 N}’ 2d 667 - NY.' Court Qprpen!s 1979

Vl ) Westchester County Mental Health Court Authorized Treatment - Article 31 NY Mental Hygiene Law

Treatment:
A) Weil Comell Hospital False Diagnosis

B)

While none of Ms. Atherton’s actions fit the category ‘Paranoid Schizophrenic’ The definition ‘Paranoia’ is
‘imagining someone is after them, conspiring against them, or planning to hurt or injure them’. Definition of
Schizophrenic: ‘hallucinations - seeing things that are not there, or hearing things that are not there, hearing
voices in your head.’ The understanding of 3'd party stalking reaches the legislature but not the psychiatrists It is
a call by a concerned citizen who puts the play in motion using New York Police, and their duty to EMT patient.’
A protection order is a normal action to take in the Court System to prevent this type of harassment

lt is important to note that there is no conspiracy of actors, there are only separate actors playing a predetermined
part. The 31"1 party stalking is arranged via a phone call to police alleging an action. The police are summoned
following the records from dispatch This means if a person is alleged to need emotional assistance, the police are
better off calling for it and letting a doctor make the decision than withholding it based on sound judgement. The
EMT is the transport mechanism and supporting report to the dispatch original call. The ER pych unit decides that
should there be more depth there is insufficient time to evaluate the patient and ask for a longer commitment
based on the original dispatch call. The longer commitment is a ‘self-fulfilling prophecy’ as they wait for
‘symptoms to manifest’ or medication to ‘change behavior.‘ In each case people are only looking for their ‘role’
or ‘job’ in the process no overarching rationale that would indicate a lack of justification that they are there. In
this era of delivering mental health services to anyone, as a goal to reduce mental illness, the psychiatric
community is finding a need to make itself heard.

The fact there was no name, no witness to the call that alleges Ms. Atherton is a danger to others it lst ‘tip off' of
the beginning of this case. The fact that Ms. Atherton was rerouted in Court not hearing Atherton’s opinion in a
2"d ‘tip off`. The refusal of Weill Comell Hospital medical staff to speak of the incident, hear Ms. Atherton’s
side of the story is the 3rd ‘tip off‘ that something has gone wrong. Per New York City Police the issue of ‘cying
in public’ can hardly be a paranoid act; nor can sitting on the planter box bench be an ‘schizophrenic experience’.

NY Presbyterian Whitc Plains Hospital False Diagnosis
The pretense for admitting Ms. Atherton to NY Presbyterian Whitc Plains Hospital was l) Paranoid
Schizophrenic and 2) Behavioral Problems.

Attending Physician initiated the Petition for “Medication over Objection” submitted to Westchester County
Mental Health Court 9“‘ Fl. Attending Physician is a strong believer in a continued medicated state for `mentally
ill patients‘. His patients seem to have experienced repeat admissions to the hospital per the patient population at
NY Presbyterian Whitc Plains Hospital. Ms. Atherton considered whether the “Medication over Objection" was a
repeat performance in the same court as St.Jospeh’s Medical Center)'St..Vincent’s Hospital and access to Mental
Hygiene Lawyer provided by New York State. Continued to coach Ms. Atherton on the dangers of the drugs
prescribed

Admitting Physician led to the psychiatric LABEL of ‘Paranoid Schizophrenic’. Attending Physician
relied on his experience and past practice of pharmaceutical alteration of the brain’s chemistry. Ms.

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C)

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Atherton ‘Liberty’ Complaint in New York State
Atherton did protest against her ‘forced commitment’ as well as inability to use the phone to call a
Mental Hygiene lawyer. Ms. Atherton’s protests were ‘anger’ based not ‘paranoid’ based.

Approximately 100,000 people in the United States experience an episode of psychosis each year,
according to the National Alliance on Mental Illness. (2) Psychosis is a break with reality that can
involve paranoia, hearing voices, or having other hallucinations or delusional thoughts Thus, it is a
RARE Occurrence for a patient to present with these legitimate symptoms.
https:r'fwww.everydavhealth.comfschizophreniafguide!treatmentr'

Pharmaceutical Treatment

Attending Physician created a list of apx 3 pharmaceuticals to submit to the Westchester County New York
Supreme Court for approval. These drugs are not to be taken lightly. This is an overview of problems associated
with the administration of the drug. Specific side effects and contraindications are listed under MALPRACTICE
page 43. When a person is NOT MENTALLY ILL, the justification of administration of a drug of such potency
and destruction cannot be accepted.

The first drug on the list of 3 is Haldol. This was administered daily dosage via Intramuscular Injections. Ms.
Atheiton protested against these injections due to her religious beliefs in Scientology. Scientology prohibits the
use of psychotropic drugs by its participants engaged in ‘auditing process’ a practice used to address emotional
and spiritual issues. Ms. Atherton wrote daily objections to the administration of this drug.

l) Haldol - Hafoperfdof The primary administration of a pharmaceutical is Haldol - 50 mg. This is an anti-
psychotic. Haloperidol is a traditional or conventional antipsychotic used to treat mania and other forms of
psychosis. lt is a derivative of butyrophenone and it acts by blocking the effects of dopamine, a chemical in
the brain that affects thinking, behavior and feelings.

a) Sr`de ejj‘écts of HALDOL.

“Haldol (haloperidol) is an antipsychotic drug that decreases excitement in the brain. Haldol is used to
treat psychotic disorders like schizophrenia, to control motor (movement) and verbal (for example, Tourette's
syndrome) tics...Haldol is not approved for use in older adults with dementia. because of increased chances of
death during treatment Common side effects of Haldol include nausea, vomiting, diarrhea, dry mouth,
nervousness, headache, dizziness, spinning sensation, drowsiness, sleep problems (insomnia),
restlessness, anxiety, skin rash, itching, spontaneous eye movements, mood changes, breast enlargement,
irregular menstrual periods, loss of interest in sex, blurred vision, difficulty urinating or urinating less than
usual, and occasional movement disorders. Severe side effects of Haldol include death in the elderly,
prolongation of the QT heartbeat interval, tardive dyskinesia (involuntary movements), a symptom complex
sometimes referred to as neuroleptic malignant syndrome (NMS) with fever, irregular heartbeats, mental
status changes, and renal failure."

2) Zyprexa- Ofanzapt`ne is used to treat certain mentaUmood conditions (such as anxiety, bipolar disorder). lt may also
be used in combination with other medication to treat depression This medication can help to decrease anxiety and
help you to think more clearly and positiver about yourself, feel less agitated, and take a more active part in everyday
life. (https:ffwww.webmd.oomfdrug§.ff!!dmg-l 699fzvprcxa~oralr‘details)

in SIDE EFFECTS quyprm

o very stiff (rigid) niuscles, high fever, tremors, sweating, confusion, fast or uneven hcarlbeats, slow heart rate,
feeling like you might pass out;

¢ twitching or uncontrollable movements of your eyes` lips, tongue, face1 arms, or legs;

¢ trouble speaking or swallowing;

o dry mouth, thirst, feeling very hot (with or without sweating). urinating less than usual or not at all;

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o high blood sugar (increased thirst, loss of appetite, fruity breath odor, increased urination_. drowsincss, dry
skin, nausea, and vomiting);

sudden numbness or weakness, confusion, or problems with vision, specch, or balance;

fever, chills, body aches, flu symptoms, sores in your mouth and throat;

swelling in your hands or feet;

changes in personality, unusual thoughts or behavior, hallucinations, or thoughts about hurting yourself;
upper stomach pain, itching, loss of appetite, dark urine, clay-colored stools, jaundicc (yellowing oflhe skin
or eyes).

LESS SERIOUS SIDE EFFECTS of Zyprexa

weight gain (more likely in teenagers), increased appetite;
headache, dizziness, drowsiness, feeling tired or restless;
memory problems;

stomach pain, constipation, loss of bladder control;

back pain, pain in your arms or legs;

numbness or tingly feeling;

breast swelling or discharge (in women or men); or
missed menstrual periods.

Actual side effects experienced by Ms. Atherton are in MALPRACTICE SECTION _ Pg43.

D) Impact of Weill Comell HospitaUSt.Vincent’s Hospital to Legal Case creating the Traumatic Brain lnjury.

Attending
Physician of NY Presbyterian Whitc Plains Hospital who has labeled Ms. Atherton as ‘psychotic’, ‘paranoid’,
`schizophrenic’ in need of psychotropic drugs. These LABELS by Attending physician has impacted Ms.
Atherton`s: lawsuit in Personal lnjury Recovery ability to testify. At the 9!8!2015 ‘I~Iearing to Dismiss the
Personal lnjury Case’, Donavon Roberts testified that Ms. Atherton had been released from a Domestic Violence
Shelter, but the Domestic Violence had nothing to do with the Personal lnjur'y Case. This is the core of the 3“l
party stalking is the New Mexico Personal lnjury case, designed to recharacterise Ms. Atherton and destroy
evidence of traumatic brain inj ury.

This approach by Attending Physician has done Ms. Atherton irreparable harm profiling Ms. Atherton as graver
‘mentally ill’. ln fact, Ms. Atherton has NO MENTAL lLNESS only a Traumatic Brain lnjury DlSABILITY per
her neuroevaluations performed 3)'2012, and 3)'2915. The ‘forced commitment` and ‘medication over objection`
has prevented Ms. Atherton’s access to medical care, Traumatic Brain lnjury Rehabilitation, employment
possibilities, FSOT exam, access to legal resources.

VII) Weill Cornell Hospitalr'NY Presbyterian Whitc Plains Hospital failing to regard Federal Code for
‘Independent Living’ under Americans with Disability Act-1990, and New York State Law.

A) Legislation to support people with Disabilities for lndcpendent Living.
FEDERAL
¢ U.S.C. Title 29 § 51.5-162. ARTICLE 10 - lndcpendent living services
lndcpendent living services provided pursuant to this article shall be provided in accordance with the Federal
Rehabilitation Act of 1973 (29 U.S.C. § 701 et seq.), as amended. "S.Services that (i) facilitate the transition
of individuals with significant disabilities from nursing homes and other institutions to home and community-
based residences with the requisite supports and services, (ii) provide assistance to individuals with

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significant disabilities who are at risk of entering institutions so that the individuals may remain in the

community, ..."

o Rehabilitation Act of 1973, 29 U.S.C. § 794.

STATE

0 State of New York Disability Rights "A disability is defined as a past or present physical or mental
impairment that substantially limits or has limited one or more maj or life activities".

¢ State of New York PA TBI clients “are individuals a with acquired or traumatic brain injury." PATBI is
an Advocate for individuals with TBI who are unnecessarily institutionalized, including out-of-state
nursing facilities; Advocate for access to appropriate supports and services, particularly when denial is
due to behaviors associated with TBl.

¢ State ofNY ACCESS-VR - “lndependent Living Centers (lLCs) provide an array of services that assist
New Yorkers with all disabilities to live fully integrated and self-directed lives. ILCS assist with all
aspects of living, leaming and eaming.

¢ New York State Association- Centersfor lndcpendent Living

Statewide, not for profit membership association of lndependent Living Centers.

° lLCs are unique disability led, cross disability, locally administered not for profit
organizations, providing advocacy and supports to assist people with disabilities of all ages to live
independently and fully integrated in their communities lndcpendent Living in New York

' ILCs have been transitioning and diverting people from institutions for more than 20 years.

' ILCs are RRDCs for NHTDlTBI waivers as well as providers of services

* lLCs are fiscal intermediaries for CDPAS program. ° Six ILCs are regional lead for Ombudsman
Program.

Goal: ldentify potential participants in nursing facilities, developmental centers and intermediate
care facilities and Peers will approximate the characteristics of the individuals (age, physical andlor
developmental disabilitij

0 NY State ACCESS-VR - “Independent Living Centers” provide an array of services that assist New
Yorkers with all disabilities to live hilly integrated and self-directed lives. lLCs assist with all aspects of
living, learning and earning. They identify and facilitate removal of architectural. communication and
attitudinal barriers to full participation in local communities and beyon .”

B) Eligible for lndcpendent Living- New York State “Intellectual Disability"_ lndcpendent Living ADA-l 990
compliance
Ms. Atherton had documented subdural hematoma (intemal bleeding in the brain; closed head injury Traumatic
Brain lnjury from the Santa Fe Accident and was released by CHRlSTUS St. Vincent Regional Medical Center as
able for ‘independent living’ llleZOl l. Ms. Atherton was denied TBI Rehabilitation and Physical Therapy as in-
patient at UNM and CHRlSTUS St. Vincent Regional Medical Center. The denial of care led her to the east coast
where she was seeking Traumatic Brain lnjury Services in New York City.

Ms. Atherton Traumatic Brain lnjury is recognized as an “intellectual disability" as such Ms. Atherton is
protected by law to live independently in society as a member of the community. Ms. Atherton’s rights were
violated at the Federal Level Americans with Disabilities Act 1990, and at the State level with Traumatic Brain
lnjury Waiver .Traumatlc Brain lnjury Walver ~ Per Brain lnjury Actr`on Plan New York - 2009~20)'3

C) FAIR HOUSING. Tltle V¥I of the Ct`vll Rights act of1963.
"The act defines persons with a disability to mean those individuals with mental or physical impairments that
substantially limit one or major life activities

D) ‘Mental Illness diagnosis’ removes access for Traumatic Brain lnjury Services.
Through the insistence of a ‘mental illness‘ diagnosis of psychotic by ATtending Physician, Weil| Comell
Hospitall`NY Presbyterian Whitc Plains Hospital disregards Ms. Atherton`s Traumatic Brain lnjury disability
status.

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Weill Cornell HospitalfNY Presbyterian White Plains Hospital disregarded New York State Policies preferring
instead to trap Ms. Atherton in the Mental Health System of Westchester County, and malevolently deny Ms.
Atherton Traumatic Brain lnjury medical care: Permanently damaging her brain. Ms. Atherton was tested by
neuropsychologist 2i20]2 and 3!2015 both show NO [NDICATION of ‘Inental illness`, only a validation of
Traumatic Brain lnjur'y to the Frontal Lobe & Occipital lobe; Most impairment were in the Executive Function.
Weill Comell Hospitalt'NY Presbyterian Whitc Plains Hospital Traumatic Brain lnjury rehabilitation; Memory
Training Exercise; Cognitive Rehabilitation; Skills in Executive Fu.nctioning rejuvenation; and Coping skills as a
TBl Survivor. Ms. Atherton continues to be disabled, and will be so for life with a permanent injury. lt was Ms.
Atherton’s desire to concentrate on her strengths and skill sets then resume a productive place in society,
recapitalizing on past achievements. Ms. Atherton came to New York City 2 months earlier for her search for
Traumatic Brain lnjury specialists only to find herself ‘f`orcibly committed’ to Weill Comell HospitaliNY
Presbyterian White Plains Hospital as a ‘mental health patient’

lnstitutions in New York have had prior experience with discrimination against ‘intellectual disabilities`. Weill
Comell HospitaUNY Presbyterian Whitc Plains Hospital emphasis is with ‘rnental health disabilities’. There is a
predisposition of community implementation of ‘mental health services’ compared to *intellectually disabled
services’ as evidenced by New York State is was part of the July 23, 2013 settlement agreement with DOJ United
States of America of America illegally retaining ‘intellectual disabled adults` in ‘institutions` operated by
Department of Health Services of the State of New York. Department of Justice found violation with the New
York`s compliance with the American Disabilities Act 1990 DOJ U.S. v. New York - ij-Cv-4i65° -
(E.D.N Y. 2013) On July 23, 2013, the United States of America of America, individual plaintiffs, and the State
of New York filed a settlement agreement in the U.S. District Court for the Eastern District of New York.

E) New York State allows for Traumatic Brain lnjury Disabled persons to access services in the Community
on an outpatient basis.

Under the definition of disability, and the plethora of Traumatic Brain lnjury services made available to New
Yorkers. Section II Definitions and Programs for Neurologica| disorders. It is Weill Comell Hospitalt‘ NY
Presbyterian Whitc Plains Hospital who is EVADING New York State’s ‘intellectual disability’ protection and
American’s with Disabilities Act of 1990. The New York State Traumatic Brain lnjury Waiver of 2005 allows for
an individual to ‘live in the community’. Beyond the disability rights, New York State has ‘mental illness care
provided in the community’, Weill Comell Hospitalt'St. Vincent`s forced Ms. Atherton into an institutionalized
setting.

F) Ms. Atherton was living independently prior to ‘forced commitment’ with Weill Comell HospitaliNY
Presbyterian Whitc Plains Hospital.
Ms. Atherton was searching to Traumatic Brain lnjury Care in New York City when she was ‘t`orce committed’ to
Weill Comell HospitaliNY Presbyterian White Plains Hospital. Under Attending Physician supervision there was no
personal evaluation of Ms. Atherton’s needs or disability requirements Ms. Atherton had been independent since she
left New Mexico - location of the Personal lnj ury accident. She fled Virginia after the 2014 ‘long term commitment’.
Arriving in Washington D.C. to obtain Traumatic Brain lnjury Rehabilitation. With the understanding that there was
no Neuropsych taking MEDICAID coverage on staff at Teaching Hospitals, Ms. Atherton departed Washington D.C.

G) New York State lndcpendent Living allows for resumption of employmentivocation.

Ms. Atherton was studying to take a FSOT with the State Department, which would have allowed her employment
with Federal accommodations for her Traumatic Brain lnjury. Ms. Atherton was one of 4% eligible candidates in the
USA. Ms. Atherton had a path to recovery from the li'iiZOll auto accident - this has been continually interrupted
by ‘forcible cornmitrnents’ and classification as ‘mentally ill’ instead of a Traumatic Brain Inj ury disability. In other
words, sitting in the middle of` suburban New York City Metro with Psychiatrists who have never treated Traumatic
Brain lnjury - specialists in Mental Health - Weill Comell Hospital fNY Presbyterian White Plains Hospital could
not comprehend Ms. Ather'ton’s accomplishments and lifestyle. Weill Comell Hospital fNY Presbyterian White
Plains Hospital was her failing to understand she has achieved success as a female in technology forcing her to live

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Atherton ‘Liberty’ Complaint in New York State

according to standards of a married with children village in Hasting on Hudson, or the low income of Yonkers, NY;
an uneducated, unrefined, devoid of any social, economic, education, or political fertile ground for Ms. Atherton to

regain her life.

With these violations in providing TBI services for Ms. Atherton- there was no way Ms. Atherton could participate
in social and economic life of the New York State. Ms. Atherton is allowed to participate in the ‘community’ as
‘independent living’ and Weill Comell Hospital KNY Presbyterian Whitc Plains Hospital utilized her to defraud the
United States of America of America Medicaid Health Care Program.

VIII) Ms. Athertou meets the New York Traumatic Brain lnjury Disability definition and Proof of Injury.
New York Traumatic Brain lnjury Disability definition: a mental impairment, neurological impairment

Proof of fnjarj):

l) Sensory Disability

a)
b)

Through social cues undetected, and improper understanding of social environments.
‘Mental impairment’ unable to maintain concentration on a task when there are disruptions.

2) Physical Impairrnent by the following

a)

b)
C)

d)

€)

Systemic variation from the Traumatic Brain Inj ury causing ‘fatigue’, requiring Ms. Atherton
to sleep long hours 12-16, or take naps after mental stress.

Kidney function: requiring frequent urination, and protection from Ieakage.

Skeletal disfigurement, and distortion impairing walking, running, and weight-bearing from
the ‘pelvic fractures’, knee, and foot injuries.

Facial scars from the traumatic impact of head injuries, scars on her knees from the serious
abrasions from the accident.

Balance and weight bearing, knee and foot difficulties 'I`rouble with squatting, rotational
agility, and muscular strength. This affects her documentary photography where she must
move quickly and change levels for the action of the event she is recording

Ms. Atherton has had continual problem with working with people in society - who fail to
understand she retains her intelligence from cognitive reserve These same people take
advantage of her emotional naiveté due to the frontal lobe injury failing to understand social
cues.

3) Vocational impairment

al

Ms. Atherton has been deselected in employment arena, unable to return to her profession.
She has a problem with an employer`s inability to deal with her variability and weaknesses.
The accident has impaired all aspects of Ms. Atherton’s earning capacity. The accident took
place on the li'i i2011 by Robert M. Chapmanf HARTFORD INSURANCE CompanyiSanta
Fe Hardware lnc.f Santa Fe Trails - et al.

4) lntellectual Impairrnent

a)

Ms. Atherton had an IQ of 130 before the accident. Ms. Atherton was tested 3!'2015 and her
IQ was only 106. Ms. Atherton has spent her life in the ‘gifted’ category. She has been above
average in all aspects of her life, education - IVY, career - entrepreneur, social - world
consultant Ms. Atherton scores in the ‘normal rangc’, but claims the inattention to her
‘aftercare’ f`or TBI leaves her permanently damaged and crippled from her former life - as
superior. Studies show the lst two years in TBI healing recover the most skills. Ms. Atherton
was denied by Weill Comell HospitaliNY Presbyterian Whitc Plains Hospital these
procedures she obtained in New York City. These would have accelerated her healing and
recovery hoping to reclaim her vibrant life as an international consultant, the very reason she
came to New York City.

IX) Weill Comell Hospitali' St. Vincent Hospital violated State & Federal Guidelines for Admission and Discharge.
A) New York State Hospitals.
The key to this Compliant is the understanding that because persons acted in their role as civil servants, had a paper trail,
hold a certificate or license it does not MEAN they DISCHARGED THIER DUTY according to the law that protects a
persons CIVIL RIGHTS, DlSABlLlTY RIGHTS, RIGHTS TO LlBERTY, and RIGHTS to Medical Care and services

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available in the Community as afforded by ADA 1990, New York Bill or Rights for Disabled Persons, and New York
State TBI waiver of services in an institution

Weil Comell Hospital admitted Ms. Atherton on a Temporary Detaining Orders New York Memal Hygiene Law § 9.40
Emergmq) obsemition, care and newman in ownptehensiw Whiam'c artetgmqv prognitns'0 from New York City Police
department They referred an ‘involuntary admission’ to NY Presbyterian Whitc Plains Hospital for psychiatric treatment,
though Ms. Atherton had NO EVIDENCE of being mentally ill. According to New York MentalH_igieue Law§ 9.40 ECO
(rl) if at any time it is determined that the person is no longer in need of immediate obseniation, care and treatment in
accordance with this section and is not in need of involuntary care and treatment in tt hospital such person shall be
released without regard to the provisions of section 29_l5 of this chapter, unless such person agrees to be admitted to
another appropriate hospital as a voluntary or informal patient " Based on Ms. Atherton`s statements that she had a TBI
disability not a ‘mental illness‘ this ECO order offers the Weil Comell Hospital the option to release her back to her own
authority. Weil Comell Hospital according to this law could have allowed Ms. Atherton to be DISCHARGED. New Yonlc
MenmlH}gieneLaw§ 9.40ECO(d) §ZSUSDIW:harge" Weil Comell Hospital omitted this understanding of Ms. Atherton`s
TBI Disability and continued to reclassify her as a `mentally ill` patient

New York Mental Hygiene Law § 9.27 involuntary admission on medical certa_`)'ication'z. lt is Ms. Atherton’s statement
that although a medical certificate was filed for involuntary admission - that the diagnosis was FLAWED, INVALID, and
DELIBERATELY CREATED to admit Ms. Atherton a MEDICAID recipient to a Private Hospital under the Department
of Health of New York State. §9.2";' reasonable cause to believe that the person has a mental illness for which
immediate observation, care and treatment in a hospital is appropriate and which is likely to result in serious
harm to him/ herself or others. "Likelihood of serious harm " means:

l. a substantial risk of physical harm to the person as manifested by threats of or attempts at suicide or
serious bodily harm or other conduct demonstrating that the person is dangerous to himmerself (See
reverse #6). or

2. a substantial risk of physical harm to other persons as manifested by homicidal or other violent
behavior by which others are placed in reasonable fear of serious physical harm.

Further, according to New York Mental Hygiene Law § 9.05 Examining physicians and medical ceirtl_')'icates"1 indicates
that the medical admission should be disqualified, as NY Presbyterian White Plains Hospital is a subordinate facility to
Weil Comell Hospital. Weil Comell Hospital used New Yoidt Memal Hygiene Law § 9.55 Emetgc.'my athnis\iousfor immedhu‘e
obstrmm`on, due told entertain powers of qudy€ed pt]/dlhltrb‘ls"‘ as their authority to keep Ms. Athenon` in their custody and claiming
‘m€s\tal illness‘ diagnosis paranoid-schizophrenic ‘therewasnoselfl'iannexpocted,orharmtoothers.

lt is this very ABUSE OF POWER tlmt has turned Ms. Athetton fi'orn a law-abiding citizen who has a Tramnatic Brain lnjury disablity into a
‘forcibly oommitted’ mentally ill patient lt is Weil Comell Hospital disregard for neuoevaluations in Ms. Athetton‘s health records by trained
Neto'opsychologists that allow this kind of‘INJUSTICE” to take place Ms. Atherton has committed NO CRIME Shc has not been a threat to
any person property, self, or the oonmnmity. The UNILATERAL AUTHORITY of a psychiatrist to unite a diagnosis based on DMS-V codes
for billing purposes and to use the name of “SAFE'I'Y“ tojustjfy FALSE NPRISONMEN'I` demonstrates that American Citizens arc no
longer SAFE to walk the streets Ifany officer ofthe Law can look at a person and decidedieyare undesirable contact the EMT and have the
person removed then forcibly detained in a Mental Hospital _ then we indeed live in a ‘polioe state’ There is no longer FRF.EDOM of
nnvement, F'REEDOM of personal liberty, or FREEDOM to publicly gather. These values have been safeguarded over time by the Courts to
prevent theabuseofpowerby individuals orgrotq)sactingtominimizccertain citizens

lt is Ms. Atherton’s Statement her Traumatic Brain lnjury Disability left her vulnerable to the ‘mental health community’
where she has been deprived of her civil rights. She was falsely imprisoned in NY Presbyterian Whitc Plains Hospital, she
lost her FREEDOM of movement, FREEDOM of personal liberty, FREEDOM to publicly gather, FREEDOM to seek
appropriate medical care for her TBl Disability, FREEDOM to pursue her life interests, and FREEDOM to re-engage in a
profession

NY Presbyterian Whitc Plains Hospital ‘f`orced commitment` broke the following law:
New YorkamlHygibneLaw§JlOleedionofpaahis'rights
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"Nonvith.standing any other provision of law. no person shall be deprived of any civil right, if in all other respects
qualified and eligiblel solely by reason of receipt of servicesfor a mental disability nor shall the receipt of such services
modi)j) or vary any civil right of any such person, including but not limited to civil service ranking and appointment the
right to registerfor and to vote at elections or rights relating to the granting,forfeiture. or denial ofa license, pertnit,
privilege, or benefit pursuant to any law. "

Weil Comell Hospital further overstepped their authority by recommending Ms. Atherton to an “intensive rehabilitation
program` at NY Presbyterian Whitc Plains Hospital 14 CRR-NY 587. l3 Intensive psychiatric rehabilitation treatment
programs‘$` The admission presumes that (l) a designated mental illness diagnosis _[Ms. Atherton had a TBI Disability
not a ‘mental illness’],'(Z) a dysfunction due to mental illness which is likely to continue for a long time,‘..." Ms. Atherton
TBI Disability is permanent for life. The behavior problems are due to the tissue damage by the TBI trauma not mental
illness This disregard of Ms. Atherton`s Traumatic Brain Inj ury Disability is tantamount to medical malpractice to remove
her from correct medical intervention and place her in a program understood by the PSYCH WARD psychiatrist.

Once Ms. Atherton arrived at NY Presbyterian White Plains Hospital ~ there was NO TREATMENT PLAN for her
‘suppcsed mental illness” According to New York Mental Hygiene Law § 29.13 Treatment plans"‘ “the following persons
shall be interviewed and provided an opportunity to actively participate in such preparation or revision: the patient;" Ms.
Atherton was never interviewed by any treatment team. She had one meeting with the attending physician, and once lie
was on vacation Attending Physician took over and created his MEDICATI()N REGIME to place Ms. Atherton in a drug
induced stupor.

There were no plans for treatment, counseling, or other kinds cf assessment - Ms. Atherton was not MENTALLY ILI_..
Thereforc, the ONLY RECORD made in NY Presbyterian Whitc Plains Hospital was a DMS-V diagnosis and a related
pharmaceutical as a justification of treatment. It is Ms. Atherton’s statement that Attending physician used the
Westchester County New York Supreme Court System as a ratification of his deception to the US Government for
FEDERAL HEALTH CARE PROGRAM Under the cloak of ‘consumer safety’ _ Attending phsysiciairi hijacked a
legitimately TBl Disabled person from the community and wove the laws into his favor relying upon his Psychiatric
credentials to prove to the Westchester Mental Health Court Ms. Atherton needed `Mental Health’ Carc, The Judge is not
a trained Physician. The Judge is not a Neuropsychologist. The Judge is not a Psychiatrist. The misread of Ms. Atherton`s
medical condition from a disability due to Traumatic Brain lnjury to ‘mental illness‘ is due to the unilateral reliance on the
psychiatrist. The issues of the BRAlN, MIND, and BEI~IAVIOR are NO'I` the exclusive domains of Psychiatry. A
neuropsychologist was never consulted in the admittance process.

Ms. Atherton intends to preserve the record of her ‘ good reputation’ She was a victim of an auto accident, and received a
serious head injury that affects her for the remainder of her life. lt is her statement that that reclassification of her
Traumatic Brain lnjury Disability to one of ‘mental illness‘ is a DEPAMATION of her CHARACTER and has had
serious repercussions on her ability to recover from the trauma, gain correct medical care, and re-emerge into society as a

productive perscn. New YorlrMe)mta' Hygiene Law § 33.l4 l l allows Ms. Atherton to protect her good name from an event that
is nothing more that FEDERAL HEALTH CARE FRAUD.

X) New York State Mental Health lnstitution conformity to Federal Health Care “Medical Necessity” -benchmark
for Malpractice Standard.

New York Medicaid Administration requires that the service or treatment provided meet the United States of America of
America Guidelines for MEDICAID ‘Medical Necessity’lS USC 669 . This means a person cannot be given "in-hospital
treatment ” unless it is for emergency conditions, medically authorized as 'life saving ’, there are no comparable services
and medical providers available for the patient lt is mandated that the MEDlCAlD PROVlDER must demonstrate that
such treatment is a 'medical necessity ’. Federal Programs for Health Care to United States of America Rccipients provide
for reimbursement to “medical providers` of MEDICAID services. These services are for direct benefit of the Recipient of
the programm under ‘medical necessity’ and must meet New York State Administrative Guidelines.

A) Feder'al guideline for MEDICAID Providers.

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B)

C)

D)

E)

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Ms. Atherton states Weil Cornell Hospital and NY Presbyterian White Plains Hospital arc `health care providers’
under the MEDICAID - FEDERAL HEALTH CARE INSURANCE. The misdiagnosis of ‘paranoid
schizophrenic` given to Ms. Atherton, and related ‘mental illness’ treatment services failed to meet specifications
for Federal Funds Reimbursernent.'q New York Mentai }h/giene Law § 32.}4 Cong)iiance with opetationai stamiatds' h_v
providers ofsen»'ices in harpita!sz° Indicates that Weil Comell Hospital/NY Presbyterian Whitc Plains Hospital provide
services for persons with ‘rnental illness‘ under accreditation of the Joint Commission, Office of lnspector
General for New York State eligible for Federai Health Care lnsurance Payment. New York Sociai Services Law §
365-a Character and adequacy of assistance - to TBI patient care . “Benchntark coverage " shaft mean payment
ofpart or aii of the cost of ‘tnedica!iy necessaty' medicai, dentai, and retttedt`ai care, .s'ervice,\', and suppiies
described in subdivision two of this section, and to the extent not included therein, any essential benefits as
defined in 42 U.S. C. 18022(b)... "

New York Law definition of ‘medical necessity’.

New York Law ‘medical necessity’ requires “acute suffering", “life endangerment. or `result in an interference
with capacity for normal activity. Ms. Atherton DlD NOT suffer from a ‘mental illness’. Ms. Atherton’s life was
not endangered Ms. Atherlon was not in acute suffering - she was “crying on the street", while sitting on the
planter box bench. Thus, for St. Joseph HospitaliNY Presbyterian Whitc Plains Hospital action to remove Ms.
Atherton from the duties of her life and ‘forcibly commit’ her to a Mental Hospital for treatment is NOT
MEDICAL NECESSITY. New York Sociai Sewioes Law § 365-a Oiamcter and adequacy of`ainsistence2Jr New York law
defines “medically necessary medical, dental, and remedial care, services, and supplies". Aecording to the
MEDICAID program as those “necessary to prevent, diagnose. correct, or cure conditions in the person that
cause acute su}j”ering, endanger life, result in iiiness or infirmity, interfere with such person's capacityfor normal
activity, or threaten some significant handicap and which are furnished an eiigibie person in accordance with
state law. " N. Y. Soc. Serv. Law, § 365-a- Off`lcials in the State's MEDICAID agency report that this definition
applies to both the fee-for-service and managed care populations.

‘Medical Necessity’ By Natiooal Academy of State Health Policy: December 18th, 2013

“In general, states must ensure the provision of, and pay for, any services, including treatment, in accordance with
mandatory and optional benefits identified in section i 905(a) of the Sociai Securin Act, determined to be
“medicafly necessary" The determination of whether a service is medically necessary must be made on a case-
by-case basis, taking into account the particular needs of the patient -- The psychiatric inpatient services are under
3 classifications: l) Over age 65 and under a long term ‘tnentai illness ', 2) under age 22 and dei»'eiopmentatiy
disabled 3) over age 22 and developmentai{i) disabied. The criteria far an adult under the Sociai Security Act
i 905(a) is that the mental iiiness treatment is necessary in that setting and expected to come to a termination "

Conf]ict of Interest. Weil Cornell Hospital and NY Presbyterian Whitc Plains Hospital. lt is
Ms. Atherton’s position that Weill Comell Hospital has a financial interest in NY Presbyterian Whitc plains
Hospital since they are related to the same parent company. Therefore, referring patients for ‘niental illness‘ from
Weil Comell Hospital to St. Vincent’s who ARE NOT ‘Mentally Ill’ is a prohibited practice 2015 New York
Laws SDS - Sociai Services Am'cie 5 - ASSISTANCE AND CARE Tit!e ii - (363 - 369) MEDICAL
ASSISTANCE FOR NEEDY PERSONS 366-D - Medicai assistance provider; prohibited ittr¢'tctiet.’s.22 NY
Presbyterian Whitc Plains Hospital eliminated Ms. Atherton’s position in the New York City community, where
she was seeking Traumatic Brain lnjury care. Ms. Atherton states that Weil Comell HospitaliNY Presbyterian
Whitc Plains Hospital has overstepped its authority to render ‘mental health’ services failing to release Ms.
Atherton after an initial evaluation. Weil Comell Hospital Hospital Psych ward accepted Ms. Atherton under a
‘Temporary Detaining Order’ - itself a discriminatory action. Weil Comell Hospital with the influence from
Hasting-on-Hudson Police report effectively remove people from the streets for placement in a full time facility.
Ms. Atherton’s protests were ignored routinely by all staff of Weil Comell HospitaliNY Presbyterian Whitc
Plains Hospital.

Attending Physician failed to meet ‘medical necessity’ criteria for admission to Weill Cornell HospitalfNY
Presbyterian White Plains Hospital.

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F)

 

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Atherton ‘Liberty’ Complaint in New York State

A'I`tending Physician labeled Ms. Atherton “Paranoid Schizophrenic” to obtain an ‘Acute Hospital in-patient`
diagnosis for Mental Health lnsurance purposes Ms. Atherton did not meet any requirement for acute ‘long term
stay‘ either medically, physically, or mentally an emotionally. The Attending Physician failed to recognize her as
Traumatic Brain lnjury Disability and ‘let her go’ denying her liberty; violating ‘discharge duties’. As a
MEDlCAlD recipient Ms. Atherton’s duration of treatment was paid by FEDERAL HEALTH CARE
INSURANCE. At Weill Comell Hospital Ms. Atherton had her medical record as 2 ‘long~term admissions’ to
SWVMHI for her TBl - under ”Brain lnjury for the Poor”. At SWVMHI it was the same pattern that Ms.
Atherton’s Traumatic Brain lnjury Disability was not recognized by the Psychiatrists resulting in these ‘Iong -
term commiunents’.

Ms. Atherton is stating that the ‘inpatient’ treatment by Weill Cornell HospitaliNY Presbyterian White
Plains Hospital violates ‘rnedical necessity’ under Federal and State guidelines.

Weill Comell Hospitalt'NY Presbyterian Whitc Plains Hospital relying on convention of ‘mental illness’, ignoring
pervasive neurological impairment. This deception to the FEDERAL GOVERNMENT MEDICAID program is
grossly out of order. MEDICAID is America’s provides quality Medical Care for over 60 million low-income
individuals Hence, the risk for a ‘psychiatric institution` to take advantage of an American Citizen on the
MEDICAID program is very high. Ms. Atherton was clearly a New Yorker with ‘Intellectual Disabilities’. This
ignorance of Ms. Atherton’s true health condition allowed Weill Comell HospitallNY Presbyterian Whitc Plains
Hospital to enrich themselves at Ms. Atherton’s expense Presuming Weill Comell HospitaliNY Presbyterian
White Plains Hospital have an ‘Attending Physician’ signature on the psychiatric evaluation admittance makes
them believe they can ‘get away’ with it. Ms. Atherton states not only was she ‘harmed’ by the ‘false diagnosis’,
and ‘mental health’ treatment. She was involuntarily used to deceive the FEDERAL GOVERNMENT. Social
Services Law §365-a(2) “...provides that "medical assistance" shall mean payment of part or all of the cost of
‘medically necessary` to prevent, diagnose, correct or cure conditions in the person that cause acute su)_§‘ering,
endanger life, result in illness or infirmity, interfere with such person 's capacity for normal activity, or threaten
some significant handicap.., " In short Weill Comell HospitallNY Presbyterian Whitc Plains Hospital did exactly
as they pleased, and duped the Federal Government of dollars of over $40,000 in Mental Health treatment that
was unnecessary. Taking advantage of FEDERAL HEALTH CARE PROGRAM is clearly MAPLRACTICE.

G] Weill Comell HospitallNY Presbyterian White Plains Hospital Traumatic Brain lnjury discrimination

Ms. Atherton emphasizes that the Traumatic Brain lnjury Disability discrimination suffered by Ms. Atherton
Weill Comell Hospitalt’NY Presbyterian White Plains Hospital established a ‘principle template` for LABELING
Ms. Atherton as ‘mentally ill’. Ms. Atherton has had repeated incidents that impact the Atherton Personal lnjury
Lawsuit.

In summary, the above key points prove the diagnosis was Medical Malpractice not just ‘opinion’, ‘error in
judgment’, ‘psychiatric discipline preference’. The lack of “medical necessity’ is the KEY ALARM BELL of
FEDERAL I~IEALTH CARE FRAUD that MALPRACTICE has occurred using personnel of the State Providers
of Medicaid as ratification against State Laws, Regulations, Statues, and Codes that prevent Ms. Atherton’s care
for Traumatic Brain Injtu'y (TBI) ‘in the community”.

Xl) Weill Cornell HospitallNY Presbyterian White Plains Hospital violated New York Mental Health Bill or
Rights, lnformed Consent, Right to Refuse Treatment, Capacity to make Mental Health Decisions.

A) lnformed Consent

lnformed Consent means the ability to give authorization to the psychiatric institution of
agreement With the treatment plan. Ms. Atherton met the conditions of “infonned consent". Ms.
Atherton suffers horn a TBl disability not a ‘mental illness’. Her two neurological evaluations
post - hospitalization 3!2012 Dr. Harn`son, and 3i2015 Dr. Joseph Conley confirm NO “mental
Illness present’. lnformed consent is determined by the evaluation of the patient’s mental
condition that allows for understanding of mental health treatment decisions Mental Hygiene
Defmitions Informed Consent -means agreeing to the procedure after being given full and

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comprehensive information on potential benefits and harm ‘Medication over Objection` through
the Westchester County Mental Health Court was harmful to Ms. Atherton’s Brain. It is Ms.
Atherton’s position that such New York Mental Hygiene Law § 9.39 Emergency (§9.39)
“reasonable cause to believe that the person has a mental illness for which immediate
observation care and treatment in a hospital is appropriate and which is likely to result in
serious harm to him/ herself or others. “ NY Mental Hygiene Bill of Rights - Inpatient Rights
for Psychiatric Centers; Surgety and Other Treatments Surgery. electroconvulsive therapy
(shock treatment), major medical treatment or experimental drugs or procedures are allowed
only with appropriate authorization Unless a judge determines that you lack the capacity to
consent to treatment such procedures may be performed only with your informed
consent.. Electroconvulsive therapy is not regarded as an emergency treatment, and its use
cannot be authorized by a psychiatric center director as an emergency procedure

Research

A patient may participate in research only t_`f it does not conflict with his or her individual treatment plan.
Agreeing or refusing to participate in research will not deprive you of any rights, privileges or protection
provided in the law.

B) Right to Refuse Mental Health Treatment

According to the Mental Health Patients Bill of Rights a patient has the RIGHT to REFUSE
TREATMENT While this has been longstanding in New York State, it has become a practice in
psychiatric hospitals that when a patient is ‘uncooperative’ and reiilse treatment - they are
FORCED to the COURTROOM to impose treatment they had originally rejected. This makes
the RIGHT TO REFUSE TREATMENT a Moot issue - devoid of any value. " NY Mental
Hygiene Bill ofRights - Inpatient Rightsfor Psychiatric Centers; You have the right to refuse
to participate in any treatment that is not an integral part of your treatment plan.

Attending Physician concocted the 3-d1’tlg list to initiate use of pharmaceuticals to sedate Ms. Atherton.
Refusal of treatment does not mean Ms. Atherton is incapable of “inf`ormed consent”. (Rivers v Kat:, NY
Appeals, l 986)

C) Capacity to make Mental Health Decisions

NY Public Health Law §2980 Definition. "Capacity to make mental health care decisions ”
means the ability to understand and appreciate the nature and consequences of health care
decisions, including the benefits and risks of and alternatives to any proposed health care, and to
reach an informed decision ’ Adrnittance to a ‘mental health’ hospital has no beating on legal
capacity. Ms. Atherton has always retained legal competency. “Legal capacity is what a human
being can do within the framework of the legal system. lt is a construct which has no objective
reality but is a relation every legal system creates between its subjects and itself. Legal
capacity gives the right to access the civil and juridical system and the legal independence to
speak on one's authority.” (www.un.org/esalsocdevtenablelrightslahc$docslahc$idcl218ex.d0c)
New York MentalHygiene Law § 80.11 “The determination by a panel that a patient is in need of
surrogate decision-making under this article shall not be construed or deemed to be a

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